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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


AFFLUENT ADS, LLC,

                                                       Civ. A. No: _ _ _ _ _ _ _ __
    Plaintiff,

        v.

JOVAN CAPUTO, PHILLIP LYNCH,
and ADTELLIGENT MEDIA, LLC,

    Defendants.


                 COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

        Affluent Ads, LLC ("Affluent Ads," "Plaintiff," or the "Company"), by and through its

undersigned counsel, hereby asserts the following Complaint against Defendants Jovan Caputo

("Caputo), Phillip Lynch ("Lynch"), and Adtelligent Media, LLC ("Adtelligent") (collectively,

"Defendants;" excluding Adtelligent, the "Individual Defendants") seeking injunctive relief and

monetary damages.

                                 PRELIMINARY STATEMENT

        1.       This is an action about theft and misappropriation of trade secrets by two

managerial employees unfairly competing with their employer. Affluent Ads brings this action

against Caputo and Lynch, two former Affluent Ads' senior managerial employees, and the

company they created - while still employed by Affluent Ads -that unlawfully competes with

Affluent Ads, to cease their illicit conduct, recover the Company trade secrets and confidential

information Defendants' misappropriated, preclude Defendants' from unlawfully competing in

violation of their contractual, statutory, and common law obligations, and recover the damages

suffered by Affluent Ads because of Defendants' prior and ongoing conduct.

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        2.      Caputo's and Lynch's scheme was audacious in its outright unlawfulness and

brazen in its flagrant disregard of their obligations to Affluent Ads. While employed by Affluent

Ads, Caputo and Lynch, two senior managers who reported directly to the Chief Executive

Officer and were responsible for a line of business that generated millions of dollars in revenue,

set up Adtelligent as a competitive business to perform the very same services marketed and

performed by the Affluent Ads business unit they ran. Caputo and Lynch relied upon Affluent

Ads' trade secrets and confidential information- including, but not limited to, client and other

indust1y partner information and relationships -- to divert opportunities to this new company they

formed, Adtelligent, and away from their employer. In fmiherance of their scheme, Caputo and

Lynch set up a separate bank account for Adtelligent at the same bank used by Affluent Ads to

funnel money for their own benefit away from the Company. Upon information and belief, this

bank account was used by Caputo and Lynch as a means of conducting their wrongful,

competitive business, and was also used by them to purposely mislead Affluent Ads' clients into

believing that the payments they made to Adtelligent's bank account for services rendered by

Affluent Ads were in fact payments being made to Affluent Ads' bank acccount for those

services, thus commandeering money intended for their employer- conduct no more lawful than

an employee skimming cash out of a company's cash register. In addition, Affluent Ads

understands that the Individual Defendants engaged in other unlawful competition outside of

Adtelligent, including individually servicing Affluent Ads' clients and keeping the revenue for

themselves. Upon information and belief, Caputo and Lynch diverted hundreds ofthousands of

dollars into Adtelligent and otherwise and currently continue to operate Adtelligent in

contravention of their obligations. When confronted with their misconduct, Caputo and Lynch

refused to take responsibility for their actions, claimed that they or their lawyer would contact


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Affluent Ads' counsel, and have not been heard from since. Under law and equity, Defendants

should not be permitted to continue to benefit from their unlawful actions, and the Company

should be compensated for the harm that already has been done.

                                 JURISDICTION AND VENUE

        3.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332. This is

an action between citizens of different states; Affluent Ads seeks actual, compensatory and

punitive damages with a present monetary value, exclusive of costs and interest, well in excess

of $75,000; and there exists complete diversity of citizenship.

        4.      This Court also has jurisdiction pursuant to 29 U.S.C. § 1331, as Affluent Ads'

claim pursuant to the Defend Trade Secret Act ("DTSA"), 18 U.S. C. § 1832, et seq., arises under

a law of the United States.

        5.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a substantial

part of the events or omissions giving rise to this action and upon which the allegations in the

Complaint are based occurred within this District. In addition, both. Caputo and Lynch explicitly

consented to the personal jurisdiction offederal or state court in Philadelphia County,

Pennsylvania for "all disputes arising from or relating to" the Invention, Non-Disclosure, Non-

Solicitation, and Non-Competition Agreement (the "Non-Compete Agreement" or the

"Agreement") they each entered into and whose terms they have violated through their conduct

·described herein. A true and correct copy of the Caputo Non-Compete Agreement is attached

hereto as Exhibit 1 and a true and correct copy of the Lynch Non-Compete Agreement is

attached hereto as Exhibit 2.




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                                             PARTIES

        6.       Plaintiff is a limited liability company formed in New Jersey, with a principal

place ofbusiness located at 3020 Market Street, Suite 535, Philadelphia, Pennsylvania 19104.

        7.      Defendant Jovan Caputo is an individual and a citizen of the State ofNew York,

residing at 78 Ketewamoke Avenue, Babylon, New York 11702

        8.      Defendant Phillip Lynch is an individual and a citizen ofthe State ofNew York,

residing at 141-08 Rockaway Beach Boulevard, Belle Harbor, New York 11694.

        9.      Defendant Adtelligent Media, LLC is a New York limited liability company with

its principal place ofbusiness at 92 Broadway, Suite 4, Amityville, New York 11701.

                                   FACTUAL ALLEGATIONS

        A.      Affluent Ads Works in a Highly Competitive
                Industry and Guards Its Trade Secrets.

        10.     Affluent Ads is an online marketing and lead generation company, which runs

highly targeted advertising campaigns for its clients ("Clients") across multiple online channels.

Affluent Ads also generates customer leads for its clients using proprietary technology and

processes.

        11.     Affluent Ads' Clients, also known as "Advertisers," are companies who seek to

use Internet advertising to help their goods and services. Some of the key industries ofthe

Clients that rely upon Affluent Ads include financial institutions focusing on mortgage

refinancing and other loans, auto insurance companies, and providers of solar energy and

consumer goods, located throughout the United States of America and also, in some cases, in the

United Kingdom and elsewhere around the world.

        12.     Of most relevance to this action is how Affluent Ads develops business and

services Clients through its LPN Network ("LPN"), the division run by Caputo and Lynch until

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their employment termination. Through LPN, Affluent Ads' Clients contract with the Company

to drive consumers who the Clients hope to convert into customers to Client websites and

customer service representatives in order to increase the likelihood that they will purchase Client

goods or services. For example, an auto insurance company will rely upon Affluent Ads to help

it locate potential customers in a geographic area and income range. These Clients rely upon

Affluent Ads because of its reputation for identifying high quality consumers most likely to

present the Client with opportunities to generate new business, its reputation for being able to

get such consumers to Clients' sites and customer service representatives, and its reputation for

doing so through ethical business practices.

        13.      In order to service its Clients, Affluent Ads' LPN division relies upon and

contracts with partners, known as Publishers or Affiliates, who specialize in directing on-line

consumers to Clients to buy their goods and services. Some of LPN' s Publishers are owners and

operators of websites and other electronic mediums offering online media space for ad

placement; the remainder are adept media buyers who are skilled at identifying online media

space opportunities and placing ads to successfully direct business to Clients. LPN provides its

network of advertising campaigns from various Clients for the Publisher to choose from, and

compensates the Publisher based on the customer traffic its Clients gain from the Publisher's

efforts. Using the auto insurance example, LPN, on behalf of the auto insurance client, would

tum to its Publisher network to use their expertise in directing new potential customers to the

Client to increase the chance that potential customers purchase auto insurance from the Client,

and Publishers would then be compensated by LPN based on their ability to drive traffic to

LPN' s Client.




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        14.     In addition to its LPN division, Affluent Ads has a lead generation division,

which works directly with Clients and lead aggregators to provide clients with high-quality, pre-

qualified leads at auction through its dynamic bidding platform. Affluent Ads' lead generation

business builds and operates websites to help consumers find quotes for goods and services

offered by its Clients (such as auto insurance, mortgage refinancing, solar panels, and consumer

goods); the Company has consumers complete an online form about their specific consumer

needs, and then matches the consumer and his or her needs with one or more Clients offering the

desired good or service. The Clients, in tum, pay Affluent Ads for matching them with the

consumer, as a potential customer.

        15.     The online affiliate marketing industry is extremely competitive, particularly

concerning the knowledge of and relationships with Clients and the Publishers skilled at driving

on-line consumers to Clients. Affluent Ads' development of its Publisher network, and the terms

of its relationships with specific Publishers, have come at a tremendous investment of money and

resources. Unfortunately, in the online affiliate marketing industry, there are numerous

Publishers who generate fraudulent traffic by, among other means, artificially manufacturing

facially high consumer traffic by relying on automated programs that give the appearance of high

human traffic (known as "bots") or manually clicking on a Client site repeatedly. In addition,

there are Publishers who are not effective at targeting consumers based on specific Client needs.

The use of Publishers generating fraudulent traffic and Publishers who are ineffective, result in

unsuccessful marketing campaigns for Clients. Consequently, relationships with Publishers that
                                                                                       I



produce successful marketing campaigns are closely guarded secrets as highly sensitive

competitive information. In the industry, when Publishers direct "bad" traffic to Clients, Clients

will not pay for such traffic. While a certain level of bad traffic for which no compensation is


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given is accepted (this is referred to as "scrubbed" traffic), high levels will result in Client loss of

confidence in Affluent Ads which will cause Clients to look elsewhere for their online marketing

needs. The identity, contact information, and other details of an industry member's working

relationship with Publishers is not available through websites, public resources such as

government records, or other means. Affluent Ads, through its industry experience and

investment in resources, has developed relationships with Publishers and come to learn which of

these Publishers can be relied upon for effective and ethical business, which in tum has allowed

Affluent Ads' Clients to rely upon it to provide highly successful marketing support. This

knowledge of Publisher identity, information, and quality is a pivotal trade secret, not disclosed

to third-parties or even those without a need to know within the Company, and gives Affluent

Ads a decided competitive advantage over its competition.

        16.     In addition, Affluent Ads' contractual terms with its Publishers, including pricing,

margin, and payment frequency information, are closely kept trade secrets. As Publishers are

independent agents, online marketing companies retain Publishers only through providing

competitive compensation. A Publisher is compensated by the quantity of customers visiting a

website that take some form of action towards becoming a customer of the Client. The actions

by a customer for which compensation can be earned range from viewing an ad all the way to

purchasing a good or service from a Client. If a competitor were to know Affluent Ads' contract

terms with Publishers, including pricing information, they could use that knowledge to calculate

Affluent Ads' profit margin and undercut Affluent Ads' terms. Affluent Ads could not likely

continue as a successful company if its Publisher relationships and pricing information could just

be usurped by a competitor.




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        17.     Similarly, Affluent Ads has invested significant amount of money and resources

in developing Client lists and relationships with Clients such ~hat it understands their

specifications, has earned their trust, and can most effectively provide for their online marketing

needs. Affluent Ads' Client relationships and the contractual terms with Clients are highly

confidential trade secrets that are not publicly available. The Company's pricing terms with its

Clients is highly competitive information which, particularly in conjunction with the terms

negotiated with its Publishers, determine the profitability of Affluent Ads. As with its

Publishers, Affluent Ads could not likely continue as a successful company if its Client

relationships and pricing information could just be usurped by a competitor. Moreover, Affluent

Ads' viability would be greatly harmed if competitors could simply trade off the good will its

high quality services have generated with Clients by representing their services as the

Company's.

        18.     Befitting their senior level, the Individual Defendants also had deep knowledge of

and access to Affluent Ads' strategic business information. The Individual Defendants were two

of approximately five Affluent Ads leaders who attended weekly management meetings where

high level and confidential information would be discussed. Specifically, at these leadership

meetings, the Individual Defendants and others would gain understanding as to what strategic

efforts are effective (and, just as importantly, what are not effective and why they are not

effective), the evaluation of certain Publishers and why certain of them are integral to the success

ofthe Company, and the evaluation ofkey Clients and strategic ways to strengthen those

relationships. In addition, the Individual Defendants knew Affluent Ads' macro-level strategic

information, including where and why investments of resources were made (whether that be by

business unit, industry vertical or otherwise), the effectiveness of such investments, and which


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industries Affluent Ads believed there to be growth opportunities and how the Company would

go about seizing that opportunity.

         19.     In support of its business, Affluent Ads has invested millions of dollars and

thousands of hours of time developing Client and Publisher relationships and knowledge,

proprietary technology, and proprietary know-how.

         20.     Due to the competitive nature of the business and the considerable effort and

expense devoted by Affluent Ads to developing its trade secrets and confidential information,

Affluent Ads takes appropriate steps to protect its trade secrets and confidential information from

unauthorized disclosure by restricting access to employees who have a legitimate need for the

information.

         21.     Affluent Ads requires all employees to enter into agreements the same as or

similar to the Non-Compete Agreement that the Individual Defendants signed as a condition of

their employment. These forms of agreement have strong non-disclosure prohibitions and

contain post-employment restrictive covenants intended to preserve trade secrets and confidential

information, including the good will and relationships, that Affluent Ads has developed.

        22.      Affluent Ads also has in place clear policies, including its Communication and

Technology Use Policy, to protect its trade secrets and confidential information and to limit

access to its computers and property for authorized purposes only. For example, Affluent Ads'

employees and contractors must login to Affluent Ads' secure computer network using unique

login credentials.

        23.      As part of the employee log-in process for email and internal dashboard access, 1

Affluent Ads requires Google Authenticator two-step verification. This means, when logging


         Dashboards are where authorized Affluent Ads' employees can access sensitive information, such as
revenue reporting, tracked Client information and performance, and Publisher information and performance.
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into a new device for the first time to access email or an internal dashboard, the user not only has

to enter the accurate and restricted password but must also enter a randomized series of numbers

sent via text to a pre-assigned cell phone for the user before access is granted.

        24.     Affluent Ads also restricts access to its Client and Publisher information to the

employees who need access to such information to perform their job duties, and not all

employees in the Company can access such information. For dashboard access, Affluent Ads

restricts within the Company to the information contained therein to operations and business

development employees who need the access to perform their job duties and who make up no

more than 20% of Affluent Ads' workforce. Affluent Ads imposes such internal restrictions

because of the sensitivity of the information.

        25.     In addition, most employee work computers are Apple manufactured, with File

Vault II installed. This means that if a work computer is stolen or misplaced, nobody can access

the files on the computer unless then enter a 16 digit recovery key code or know the

individualized password for that particular computer. Indicative of the efforts taken by Affluent

Ads to protect its information, this is the same encryption tools used by NASA to protect its

sensitive information.

        26.     Affluent Ads' offices are restricted such that third-parties cannot simply enter and

gain access to the office, let alone the Company's business information.

        27.     In addition, Affluent Ads does not disclose Client or Publisher information to

other actual or prospective Clients or Publishers. Even were a significant Client to insist on

knowing the identity of Affluent Ads' Publishers, the Company would not consider providing the

identity, let alone any other confidential information regarding that relationship.




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         28.      If a competitor were to know Affluent Ads' Client and Publisher relationships, as

well as the contractual terms of those relationships, including the terms of compensation and the

effectiveness of certain Publishers, it would have a substantial and unfair advantage when

obtaining work from and providing services to Clients, with the ability, among other things, to

undercut Affluent Ads business in the marketplace.

    B. Lynch and Caputo Join Affluent Ads in a Senior Managerial Capacity,
       Reporting Directly to the CEO, and Enter Into Non-Compete Agreements

         29.     Affluent Ads hired Lynch and Caputo as employees on or about June 4, 2013. At

hire, both Lynch and Caputo held the position of Co-Director for Partner Network Operations,

reporting directly to Zachary Robbins ("Robbins"), Affluent Ads' Chief Executive Officer? In

that capacity, they ran LPN, a multi-million dollar business unit, and managed several

employees.

         30.     Affluent Ads explicitly informed the Individual Defendants of their obligations to

the Company upon hire and required them to enter into contractual agreements to protect

Company trade secrets and confidential information. The Offer Letter made clear that, except

for limited wind-down work for a prior company that is unrelated to the facts giving rise to this

action, "[t]his is a full time position. During the period of employment hereunder. .. you shall

devote your full business time, ability and attention to the business of the Company, and you

shall not engage in or perform duties for any other person that interfere with the performance of

your duties hereunder." The Offer Letter further provided that employment was contingent upon

the Individual Defendants' execution of the restrictive covenant agreement that was enclosed




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         In May 2015, Caputo's title changed to Vice-President, Sales and Distribution, for LPN and Lynch's
changed to Vice-President, Business Development and Operations, for LPN, but their material duties and overall
responsibility for LPN remained the same throughout their employment.
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with the Offer Letter. Both Lynch and Caputo agreed to the terms of employment, signing the

Offer Letter.

          31.      Lynch and Caputo also signed their respective Non-Compete Agreements, which

were enclosed with the Offer Letter, and which contained non-disclosure, non-solicit, and non-

competition obligations. By entering into the Non-Compete Agreement, Lynch and Caputo

agreed:

                a. Not to "disclose any Confidential Information to any person or entity other than

employees of Company or other persons providing services to Company or use the same for any

purposes (other than in the performance ofhis/her duties providing services to Company)

without written approval by an officer of Company, either while performing services on behalf

of Company or at any time thereafter." (The Non-Compete Agreement, § 1.1 );

                b. Not to contact or communicate with Clients for "[a]s long as he is rendering

services to Company and for a period of one (1) year thereafter ... with the purpose or effect of (i)

interfering with Company's relationship with or sales of any products or services to such

customer or Advertiser or (ii) providing, selling, or attempting to sell any products or services

from an entity or person other than Company, where such products or services are of the type

offered for sale or provided by Company while Employee was employed by Company and

specifically including (a) providing, selling, or attempting to provide or sell Leads for any

industry that Company purchased or sold Leads during the above-mentioned restriction period

(such as, but not limited to short-term consumer loan, payday loan, and auto-insurance

industries), (b) providing or selling Internet Traffic or driving Internet users to web pages




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specified by such [Client], and (c) selling advertising inventory space or Internet traffic to any

such [Client] ... " (Id., § 3 .2); 3

                c. Not to contact or communicate with Publishers for "[a]s long as he is rendering

services to Company and for a period of one (1) year thereafter ... with the purpose or effect of (i)

purchasing online media, advertising space, Internet Traffic, or Leads from such Publisher, (ii)

promoting through any online means advertisements, products or services through such

Publisher, (iii) compensating such Publisher for online advertising services, or (iv) interfering

with Company's relationship with such Publisher or inducing or causing such Publisher to

terminate or reduce his/her/its relationship with Company ... " (Id., § 3.3); 4

                d. Not to solicit suppliers during employment or for a one year period therafter (Id.,

§ 3.4);

                e. Not to solicit employees during employment or for a two year period therafter

(Id., § 3.5);

                f. Not to participate for "as long as he is rendering services to Company and for a

period of six (6) months thereafter ... in any ... business or entity that .... (a) engages in affiliate

marketing, where Internet Traffic is purchased or generated, such as but not limited to through

websites, emails, or by displaying online advertisements, in a manner designed to sell it to a

particular third-party, with compensation based on performance ... , or (b) engage in conduct in

preparation of providing any of the products or services specified in (a) during the restricted

period ... " (Id., § 4.1 ); and

              g. Not to compete with Affluent Ads for a one-year period in any area of the

business besides the six-month restriction described in Section 3.6. (Id., § 4.2).


          The temporal restriction for (ii) in Section 3.2 is limited to six months under certain circumstances.
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          The temporal restriction for (ii) in Section 3.3 is limited to six months under certain circumstances.
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         32.      Caputo and Lynch shared responsibilities for running Affluent Ads' LPN

division. As Lynch explains on his Link:edin page, the Individual Defendants' job duties

included:

               a. Responsibility for [LPN] P&L, operations and business initiatives between both

publishers and advertisers;

               b. Ensure maximum ROI [return on investment] for both publishers and advertisers

by identifying profitable streams of revenue while diversifying the company's portfolio into new

verticals;

               c. Manage the overall strategy, business development team and key publisher

relationships for [LPN] which consists of almost 50 advertiser verticals across more than two

thousand publisher partners. 5

         33.      In connection with these significant responsibilities, Caputo and Lynch had

exposure to Affluent Ads' most valuable trade secrets and confidential information, including its

assessment of specific Publisher and Client relationships, key contacts at Publishers and Clients,

and the contractual and economic terms of Affluent Ads' relationships with Publishers and

Clients. Indeed, a significant part of the Individual Defendants' job responsibilities consisted in

negotiating agreements with Publishers and Clients, strengthening Affluent Ads' pre-existing

relationships, and identifying new business opportunities for LPN.

         34.      For performing these job duties, the Individual Defendants were highly

compensated by Affluent Ads.




         While more circumspect in his description of responsibilities, Caputo also identifies in his Linkedin profile
that he was "[r]esponsible for [LPN] P&L, operations, and business initiatives between both publishers &
advertisers." True and correct copies of Lynch's and Caputo's Linkedin profiles, last viewed on July 18, 2016, are
attached hereto at Exhibits 3 and 4.
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         C.     Defendants Conspired to Form a Company to
                Compete with Affluent Ads in the Winter of2014 and 2015

         35.    Upon information and belief, and unbeknownst to Affluent Ads at the time, in or

about November 2014, Caputo and Lynch entered into an agreement to form a new business that

would compete directly with Affluent Ads while they remained wage-earning employees of the

Company.

         36.    On November 24, 2014, Caputo wrote to Lynch: "adtelligent[,] but yes[,] I am

down[,] and I know[,] thats the best thing for us[,] the timeline we discussed[,] please don't say

anything stupid[.]"

         37.    On or about February 5, 2015, in furtherance of their agreement to knowingly,

unlawfully compete, Caputo and Lynch formed Defendant Adtelligent Media, LLC. The

business address it registered with the New York Department of State is 92 Broadway, Suite 4,

Amityville, New York 11701, the publicly identified business address for the Ansanelli Law

Group, where one or more of Caputo's relatives practice law. The New York Department of

State, Division of Corporations' Entity Information also identifies Lynch on the address

information for Adtelligent.

         38.    Upon information and belief, Defendants conducted business in unlawful

competition with Affluent Ads using the names 925Media and/or Blue Mule, or by just

performing competitive activities as individuals without the use of any business name or entity

structure ..

         39.    In furtherance of their agreement to unlawfully compete, Caputo and Lynch set up

a bank account with JP Morgan Chase & Co. ("Chase"), which is the same banking institution

used by Affluent Ads. The bank account number for this account is #[XXXXX] 1802 (the

"Chase Account"). Upon information and belief, the Individual Defendants chose to bank with

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Chase for the purpose of leading Affluent Ads' Clients to believe that the new account was an

Affluent Ads' account to which some payments should be directed and, by choosing the same

banking institution that Affluent Ads had previously provided to Clients for payment purposes,

this false story would be considered more plausible by unsuspecting Clients.

        40.     Upon information and belief, starting in November 2014 and continuing to

present, the Individual Defendants used Adtelligent to perform work for Clients for their own

benefit and not on behalf of Affluent Ads. Caputo and Lynch did not inform Affluent Ads of the

business opportunities they took for their own benefit. Caputo and Lynch performed this work

for their own benefit while they remained active, paid employees of Affluent Ads.

        41.     Upon information and belief, beginning in November 2014 and continuing to

present, Caputo and Lynch entered into an agreement to misappropriate Affluent Ads' trade

secrets, confidential information, good will, property and resources for their own benefit. Upon

information and belief, Caputo and Lynch concluded that it would be substantially cheaper and

easier for Adtelligent to succeed if they took Affluent Ads property, resources, and relationships

for their own benefit, instead of having to invest the time and resources to develop Client and

Publisher relationships, business documents, pricing models, and strategic plans of their own for

Adtelligent. At the time that the Individual Defendants agreed to take Affluent Ads' property,

resources and relationships, including its trade secrets, confidential information, and good will,

they knew that they did not have authority to access or use this information, resources, and

material for their own benefit. The Individual Defendants never disclosed to Affluent Ads their

purpose for accessing or taking these items because they knew that Affluent Ads would not

authorize such access or use.




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        42.     For example, upon information and belief, Caputo and Lynch used the

Company's computers that they were authorized to use for legitimate Affluent Ads business

purposes to instead develop and run Adtelligent' s business. The Individual Defendants did not

have authority to use these computers for the purpose of using Affluent Ads confidential

information, trade secrets, and good will for their own benefit. The Individual Defendants also

did not have authority to use these computers for the purpose of creating or editing Adtelligent

documents, yet- despite this lack of authority- had a folder on their Affluent Ads' work

computers dedicated to Adtelligent business.

        43.     Upon information and belief, Defendants used Affluent Ads' own campaign

tracking platform, Cake (www.getcake.com), as well as several third-party tracking platforms,

including among others, HasOffers (www.hasoffers.com) and Limelight

(https://www.limelightcrm.com), to support their unlawful scheme. Defendants appear to have

used Cake, HasOffers, Limelight, and/or other tracking platforms to track Publisher and

Advertiser business activity for their own benefit, rather than for the benefit of Affluent Ads.

        44.     In addition to marketing themselves to Clients as Adtelligent, upon information

and belief, the Individual Defendants also directed Affluent Ads' Clients to send payments

intended for Affluent Ads to Adtelligent' s Chase Account. As this part of their scheme, upon

information and belief, the Individual Defendants would inaccurately cause Affluent Ads'

records to identify approximately 10% of the work generated for certain Clients as "scrubbed"

traffic, i.e., not traffic chargeable to the Clients because it was bad customer traffic for one or

more reasons-- such as because it was fraudulent traffic (for example, automated click traffic

caused by bots or by multiple manual clicks by one individual from the same IP address,

intended to exaggerate customer flow) or was mismatched traffic (for example, a mortgage


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refinance customer who, as it turns out, does not own a home), etc. -- and then have Clients send

payment for that 10% "scrubbed" (bad) traffic to their Adtelligent Chase Account. In reality, the

10% scrubbed traffic was fully chargeable and, in fact, was charged to the Clients, who paid the

amount into Defendants' Chase Account with the mistaken understanding that it was being sent

to an Affluent Ads bank account. As the Individual Defendants explained in a March 20, 2015

communication:

        Lynch: the scrub on reverse[] doesn't work[] unless they do volume
        Caputo: sure
        Lynch: you can't scrub 5 leads
        Caputo: true[,] got it[,] gotta see whats up w this shit
        Lynch: its got to be like 100- then 10 would be scrubbed ... maybe
        Caputo: got it[,] call now we got
        Lynch: its one out of 10 leads[] at 10 percent[,] number- #[XXXX]1802[,] all the
        other info he has is still accurate - he just needs to switch the acct number out
        Caputo: I shouldn't give him the new address?
        Lynch: nah[,] its fine
        Caputo: ok
        Lynch: all it needs is bank acct[] and routing which he has[,] its literally just a
        switch of the acct number and all good
        Caputo: kk cool[,] Ill get that done[.]

        45.     Upon information and belief, Defendants' unlawful scheme was not limited to

competing unlawfully through Adtelligent or by diverting payments intended for Affluent Ads

into their Chase Account. Although its investigation is ongoing and the Individual Defendants

have refused to disclose the scope of their malfeasance, Affluent Ads understands that the

Individual Defendants also competed directly as individuals and generated sales for their own

benefit without using Adtelligent. Based on this understanding, the Individual Defendants have

retained additional payments, not reflected in Adtelligent' s accounts or records, that should have

been directed to Affluent Ads as well.

        46.     Defendants' unlawful scheme to simultaneously compete against Affluent Ads

and divert payments intended for the Company into their Chase Account or other accounts under

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their control has caused, and continues to this day to cause irreparable harm to the Company, and

violates their legal obligations.

    D. Affluent Ads Becomes Aware of Defendants' Misappropriation and
       Unlawful Competition When Investigating a Sudden Steep Decline in Revenue and
       Loss of Key Clients in LPN

        4 7.    While Defendants appear to have been operating their unlawful scheme since at

least November 2014, Affluent Ads only recently became aware of their actions.

        48.     In response to steep revenue decline and sudden loss of several large Clients in

the LPN business over a short period oftime in May and June 2016, Robbins requested that

Caputo and Lynch provide explanations for the business loss. When their explanations did not

withstand scrutiny, Robbins directed them to provide more detailed pipeline reports so that he

could undertake a closer review of the LPN business.

        49.     When the pipeline reports did not provide clarity on the sudden revenue decline or

Client loss, on or about June 2ih, 2016 Robbins commenced an investigation to better

understand what they were doing with their time. It was only through this investigation over the

course of several days ending on July 1st, 2016, that Robbins and Affluent Ads first became

aware of an entity called "Adtelligent" and that the Individual Defendants' were directly

competing with their employer and had set up one or more separate bank accounts for such

purposes.

        50.     Upon this discovery, Affluent Ads continued its investigation into the Individual

Defendants, and learned that this scheme had been taking place for several years, including the

process of taking the revenue for "one out of every ten" sales generated by LPN for themselves.

        51.     Although its investigation is ongoing and cannot be completed without expedited

discovery being sought in connection with its Motion for a Temporary Restraining Order and


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Preliminary Injunction, Affluent Ads understands that in one month alone, in just one of the

Company's many Client industries (mortgage refinance) Defendants generated over $42,000 in

revenue from two key Company Clients by unfairly competing with the Company through

Adtelligent. In addition to this unlawful competition, accepting Defendants' own plan of

pocketing the revenue from "one out of every ten" sales generated by LPN for themselves, even

if that pocketing of revenue earned by LPN was limited to a few key Clients, Defendants would

still have taken several hundred thousand dollars of additional LPN revenue from Affluent Ads.

        52.     Providing insight into Defendants' conduct and misrepresentations, a Client

recently asked about payments made to Defendants' Chase Bank Account explained that the

Individual Defendants had represented that "Adtelligent" was another name used by Affluent

Ads to do business, and hence any money the Client sent to Adtelligent' s Chase Account was

going to Affluent Ads, thus deceiving a Client as well as Affluent Ads.

    E. Affluent Ads Gave Defendants an Opportunity To Explain and Defend Their
       Actions But Received No Bona Fide Response, and Terminated Their Employment

        53.     On July 14,2016, while still employed by the Company, Caputo and Lynch met

with Robbins, Affluent Ads Co-Founder Stephen Gill ("Gill"), Affluent Ads' general counsel,

and Affluent Ads' outside counsel regarding Affluent Ads' investigation into their conduct as of

that date.

        54.     Affluent Ads gave Caputo and Lynch an opportunity to explain their actions and

take steps to remedy the damage they have caused.

        55.     Caputo and Lynch refused to provide the Company with any information related

to their misconduct, nor did they offer any explanation.

        56.     Instead, Caputo and Lynch ended the meeting with vague representations that the

Company would be hearing from them or their legal counsel in connection with this matter. To

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date, neither the Company nor its legal counsel have received further communications from any

of the Defendants or those acting on their behalf.

        57.      At the July 14 meeting, Affluent Ads terminated Caputo's and Lynch's

employment. Affluent Ads also took possession of Caputo's and Lynch's Affluent Ads' work

computers, which are currently undergoing additional analysis for the purpose of further

uncovering the scope of their unlawful action.

        58.      Upon information and belief, without the benefit of injunctive relief, the

Individual Defendants are to this day continuing to operate Adtelligent, relying upon and

misappropriating Affluent Ads' confidential information, good will, and trade secrets, ~d

flouting their contractual and common law obligations to the Company. This continued unlawful

conduct includes, upon information and belief, communicating with Affluent Ads' Clients and

Publishers for the benefit of Defendants. Indeed, their silence in response to being confronted by

their actions strongly suggests they are using this time to continue their unlawful business

schemes, or to destroy evidence of such schemes, rather than to meaningfully engage Affluent

Ads regarding their actions and steps they must take to attempt to rectify those actions. Absent

immediate injunctive relief, Affluent Ads will continue to suffer irreparable harm through

Defendants' actions.

                                     COUNT I
                MISAPPROPRIATION OF TRADE SECRETS -18 U.S.C. § 1832
                               (as to all Defendants)

        59.      Paragraphs 1 through 58 are incorporated by reference as if fully set forth herein.

        60.      Defendants have misappropriated Affluent Ads' trade secrets and confidential

information without the express or implied consent of Affluent Ads.




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        61.     Lynch and Caputo, while managerial employees of Affluent Ads, accessed and

relied upon Company Publisher and Client information to be used for the benefit of Defendants.

Upon information and belief, among other things Lynch and Caputo relied upon Affluent Ads'

Publisher and Client relationships, pricing information, margin information, good will, and

knowledge of Publisher quality to engage in the aforementioned unlawful conduct.

        62.     Caputo and Lynch also have knowledge of competitive pricing information and

other trade secrets and confidential information which they have used or disclosed, or are likely

to use or disclose, in performing their duties for Adtelligent, as this was some of the very

information for which they had responsibility as the management team running LPN.

        63.     Affluent Ads has expended substantial resources in developing its trade secrets

and confidential information for its exclusive use and benefit. Affluent Ads' trade secrets and

confidential information derive economic value from the fact that they are neither generally

known nor readily ascertainable by proper means by any third parties.

        64.     Affluent Ads does not disclose its trade secrets or confidential information to its

competitors and has made reasonable efforts to protect their confidentiality.

        65.     Affluent Ads communicated its trade secrets and confidential information to

Caputo and Lynch in confidence and Caputo and Lynch knew that Affluent Ads intended for its

trade secrets to remain confidential.

        66.     Adtelligent knew that Caputo and Lynch were not authorized by Affluent Ads to

use trade secrets and confidential information for the benefit of Defendants.

        67.     Defendants have used Affluent Ads' trade secrets and confidential information to

compete with Affluent Ads and are continuing to do so.




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        68.     As a direct and proximate result of Defendants' misappropriation of trade secrets,

Affluent Ads will continue to suffer irreparable harm.

        69.     As a direct and proximate result of Defendants' misappropriation of trade secrets,

Affluent Ads has suffered, and will continue to suffer substantial damages absent Court

intervention, the precise amount of which will be determined at trial.

        70.     Defendants' conduct has been willful and outrageous and undertaken with

reckless indifference to the rights of Affluent Ads.

                                    COUNT II
              MISAPPROPRIATION OF TRADE SECRETS - 12 Pa.C.S.A. § 5302
                              (as to all Defendants)

        71.     Paragraphs 1 through 70 are incorporated by reference as if fully set forth herein.

        72.     Defendants have misappropriated Affluent Ads' trade secrets and confidential

information without the express or implied consent of Affluent Ads.

        73.     Lynch and Caputo, while managerial employees of Affluent Ads, accessed, relied

upon, and used Company Publisher and Client information for the benefit of Defendants. Upon

information and belief, among other things Lynch and Caputo relied upon Affluent Ads'

Publisher and Client relationships, pricing information, margin information, and knowledge of

Publisher quality to engage in the aforementioned unlawful conduct.

        74.     Caputo and Lynch also have knowledge of competitive pricing information and

other trade secrets and confidential information that they have used or disclosed, or are likely to

use or disclose, in performing their duties for Adtelligent, as this was some of the very

information for which they had responsibility for as the heads of LPN.

        75.     Affluent Ads has expended substantial resources in developing its trade secrets

and confidential information for its exclusive benefit. Affluent Ads' trade secrets and


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confidential information derive economic value from the fact that they are neither generally

known nor readily ascertainable by proper means by any third parties.

        76.     Affluent Ads does not disclose its trade secrets or confidential information to its

competitors and has made reasonable efforts to protect their confidentiality.

        77.     Affluent Ads communicated its trade secrets and confidential information to

Caputo and Lynch in confidence and Caputo and Lynch knew that Affluent Ads intended for its

trade secrets to remain confidential.

        78.     Adtelligent knew that Caputo and Lynch were not authorized by Affluent Ads to

use trade secrets and confidential information for the benefit of Defendants.

        79.     Defendants have used Affluent Ads' trade secrets and confidential information to

compete with Affluent Ads and are continuing to do so.

        80.     As a direct and proximate result of Defendants' misappropriation of trade secrets,

Affluent Ads will continue to suffer irreparable harm.

        81.     As a direct and proximate result of Defendants' misappropriation of trade secrets,

Affluent Ads has suffered and will continue to suffer substantial damages absent Court

intervention, the precise amount of which will be determined at trial.

        82.     Defendants' conduct has been willful and outrageous and undertaken with

reckless indifference to the rights of Affluent Ads.




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                                        COUNT III
                                   BREACH OF CONTRACT
                                       (as to Caputo)

         83.    Paragraphs 1 through 82 are incorporated by reference as if fully set forth herein.

         84.    Caputo is bound by the terms of his Non-Compete Agreement, which he entered

into as a condition of his employment with Affluent Ads.

         85.    The Non-Compete Agreement requires that Caputo not disclose Affluent Ads'

trade secrets and confidential information and not use such trade secrets and confidential

information for the benefit of any person or entity other than Affluent Ads. Through his actions

as described above, Caputo has bre.ached his non-disclosure obligations and, upon information

and belief, continues to do so to this day absent relief from the Court.

         86.    The Non-Compete Agreement requires Caputo, during his employment with

Affluent Ads and for a period thereafter, not to solicit any Clients or Publishers of Affluent Ads.

Through his actions as described above, Caputo has breached his non-solicitation obligations

and, upon information and belief, continues to do so to this day absent relief from the Court.

         87.    The Non-Compete Agreement requires Caputo, during his employment with

Affluent Ads and for a period thereafter, not to engage in certain competitive activity with

Affluent Ads. Through his actions as described above, Caputo has breached his non-competition

obligations and, upon information and belief, continues to do so to this day absent relief from the

Court.

         88.    As a direct and proximate result of Caputo's breach, Affluent Ads has suffered

substantial damages, and will continue to suffer substantial damages, absent Court intervention.

         89.    Caputo's actions have been willful and outrageous and undertaken with reckless

indifference to the rights of Affluent Ads.


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                                        COUNT IV
                                   BREACH OF CONTRACT
                                       (as to Lynch)

         90.    Paragraphs 1 through 89 are incorporated by reference as if fully set forth herein.

         91.    Lynch is bound by the terms of his Non-Compete Agreement, which he entered

into as a condition of his employment with Affluent Ads.

         92.    The Non-Compete Agreement requires that Lynch not disclose Affluent Ads'

trade secrets and confidential information and not use such trade secrets and confidential

information for the benefit of any person or entity other than Affluent Ads. Through his actions

as described above, Lynch has breached his non-disclosure obligations and, upon information

and belief, continues to do so to this day absent relief from the Court.

         93.    The Non-Compete Agreement requires Lynch, during his employment with

Affluent Ads and for a period thereafter, not to solicit any Clients or Publishers of Affluent Ads.

Through his actions as described above, Lynch has breached his non-solicitation obligations and,

upon information and belief, continues to do so to this day absent relief from the Court.

         94.    The Non-Compete Agreement requires Lynch, during his employment with

Affluent Ads and for a period thereafter, not to engage in any competitive activity with Affluent

Ads. Through his actions as described above, Lynch has breached his non-competition

obligations and, upon information and belief, continues to do so to this day absent relief from the

Court.

         95.    As a direct and proximate result of Lynch's breach, Affluent Ads has suffered

substantial damages, and will continue to suffer substantial damages, absent Court intervention.

         96.    Lynch's actions have been willful and outrageous and undertaken with reckless

indifference to the rights of Affluent Ads.


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                                            COUNTY
                                 BREACH OF FIDUCIARY DUTY
                                    (as to Caputo and Lynch)

           97.    Paragraphs 1 through 96 are incorporated by reference as if set forth fully therein.

           98.    At all times prior to their employment terminations, Caputo and Lynch were

employees and agents of Affluent Ads.

           99.    As agents of Affluent Ads, running a division for the Company, Caputo and

Lynch owed Affluent Ads a fiduciary duty.

           100.   Caputo and Lynch, through their actions as set forth herein, intentionally and

willfully violated their fiduciary duties to Affluent Ads by taking actions against Affluent Ads'

interest while employed by Affluent Ads.

           101.   As a direct and proximate result of Caputo's and Lynch's acts and omissions,

Affluent Ads has suffered substantial damages and will continue to suffer substantial damages,

absent Court intervention.

           102.   Caputo's and Lynch's actions have been willful and outrageous and undertaken

with reckless indifference to the rights of Affluent Ads.

                                            COUNT VI
                                BREACH OF DUTY OF LOYALTY
                                    (as to Caputo and Lynch)

           103.   Paragraphs 1 through 102 are incorporated by reference as if set forth fully

therein.

           104.   At all times prior to their employment termination, Caputo and Lynch were

employees and agents of Affluent Ads.

           105.   As agents of Affluent Ads, running a division for the Company, Caputo and

Lynch owed Affluent Ads a duty of loyalty.


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           106.   Caputo and Lynch, through their actions as set forth herein, intentionally and

willfully violated their duties of loyalty to Affluent Ads by taking actions directly and

undeniably contrary to Affluent Ads' interests while employed by Affluent Ads.

           107.   As a direct and proximate result of Caputo's and Lynch's acts and omissions,

Affluent Ads has suffered substantial damages.

           108.   Caputo's and Lynch's actions have been willful and outrageous and undertaken

with reckless indifference to the rights of Affluent Ads.

                                              COUNT VII
                                            CONVERSION
                                         (as to all Defendants)

           109.   Paragraphs 1 through 108 are incorporated by reference as if set forth fully

therein.

           110.   At all times, Affluent Ads retained all right, title, and interest in the money, trade

secrets and other information taken by Defendants.

           111.   Defendants knowingly, dishonestly, and intentionally took and retained Affluent

Ads' money, trade secrets and other information without authorization.

           112.   Defendants' acts constitute a knowing, unlawful and intentional conversion of

trade secrets and information for Defendants' economic benefit and to the economic detriment of

Affluent Ads.

           113.   Defendants have refused Affluent Ads's demands to return the money, trade

secrets, and other Affluent Ads property that Caputo and Lynch illegitimately took.

           114.   As a direct and proximate result ofthis conversion, Affluent Ads has suffered

substantial damages and will continue to suffer substantial damages absent Court intervention.




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           115.   Defendants' actions have been willful and outrageous and undertaken with

reckless indifference to the rights of Affluent Ads.

                                            COUNT VIII
                                      UNJUST ENRICHMENT
                                       (as to all Defendants)

           116.   Paragraphs 1 through 115 are incorporated by reference as if set forth fully

therein.

           117.   Through their misappropriation of trade secrets and confidential information and

taking of payments intended for Affluent Ads, Defendants received a benefit from Affluent Ads,

i.e., Affluent Ads' property, to which Defendants were not entitled.

           118.   Defendants have improperly, and without consent by Affluent Ads, retained this

Affluent Ads' property.

           119.   Defendants had, and have, no legitimate entitlement to this Affluent Ads'

property.

           120.   Upon information and belief, Defendants have continued to use the ill-gotten

property for their own benefit.

           121.   Defendants have refused Affluent Ads' demands to return the money, trade

secrets, confidential information, and other Affluent Ads' property that Caputo, Lynch, and

Adtelligent illegitimately took.

           122.   The taking and retention of this benefit is both inequitable and unjust.

           123.   As a direct and proximate result of Defendants' unjust emichment, Affluent Ads

has suffered substantial damages and will continue to suffer substantial damages absent Court

intervention.




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           124.   Defendants' actions have been willful and outrageous and undertaken with

reckless indifference to the rights of Affluent Ads.

                                              COUNT IX
                                      UNFAIR COMPETITION
                                        (as to all Defendants)

           125.   Paragraphs 1 through 124 are incorporated by reference as if set forth fully

therein.

           126.   By virtue of the acts described above, Defendants have misappropriated trade

secrets and confidential information of Affluent Ads, and have employed unfair and deceptive

practices intended to interfere with Affluent Ads' ability to fairly compete with Defendants.

           127.   Defendants have committed these acts maliciously and for the sole purpose of

inflicting harm on Affluent Ads or to benefit themselves at the expense of the Company.

           128.   As a direct and proximate result of Defendants' unfair competition, Affluent Ads

has suffered substantial damages and will continue to suffer substantial damages absent Court

intervention.

           129.   Defendants' actions have been willful and outrageous and undertaken with

reckless indifference to the rights of Affluent Ads.

                                    COUNT X
             TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONS
                              (as to all Defendants)

           130.   Paragraphs 1 through 129 are incorporated by reference as if set forth fully

therein.

           131.   Affluent Ads has valid and binding agreements with its Clients and its Publishers,

which provided that Affluent Ads would provide certain contractual services for Clients, and




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would receive certain contractual services from Publishers, in connection with Affluent Ads'

online marketing efforts.

           132.    Defendants knew about these binding agreements with Affluent Ads' Clients and

Publishers as part of the Individual Defendants' key job responsibilities which included

negotiating such agreements.

           133.    Despite Defendants' actual knowledge of these agreements, upon information and

belief, Defendants intentionally encouraged Affluent Ads' Clients and Publishers to breach their

respective agreements with Affluent Ads by doing business with Defendants instead.

           134.    Upon information and belief, Defendants used their knowledge of Affluent Ads'

confidential information and trade secrets, including its pricing terms, to undercut its contractual

relationships with its Clients and Publishers in order for Defendants to unlawfully gain business.

           135.    Defendants thereby wrongfully interfered with Affluent Ads' contractual rights

and actual and prospective business relationships, thereby causing damages to Affluent Ads.

           136.    Defendants' wrongful actions were not privileged.

           13 7.   Defendants' actions have been willful and outrageous and undertaken with

reckless indifference to the rights of Affluent Ads.

                                               COUNT XI
                                             CONSPIRACY
                                       (as to Caputo and Lynch)

           138.    Paragraphs 1 through 137 are incorporated by reference as if set forth fully

therein.

           139.    Upon information and belief, the Individual Defendants agreed, combined and

acted with a common plan and purpose to misappropriate Affluent Ads's trade secrets and other

property by engaging in the unlawful acts described above.


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            140.    Upon information and belief, the Individual Defendants agreed, combined and

    acted with a common plan to breach Caputo's and Lynch's fiduciary and other common-law

    duties owed to Affluent Ads by engaging in the unlawful acts described above.

            141.    Upon information and belief, the Individual Defendants committed overt acts, as

    described above, including, but not limited to, the unauthorized taking of trade secrets and

    confidential information and competing against Affluent Ads while Caputo and Lynch were still

    employees, in pursuit of the common purpose described above.

            142.    As a direct and proximate result of the acts done in furtherance of the conspiracy,

    Affluent Ads has been damaged, including damages to Affluent Ads' overall business, its loss of

    payments diverted to Defendants' bank account, and damage in the form of expenses related to

    investigative and remedial actions taken to address the effects of the conspiracy. Affluent Ads

    has suffered, and will continue to suffer, these injuries.

            143.    As a direct and proximate result of the Individual Defendants' conspiracy,

    Affluent Ads has suffered substantial damages and will continue to suffer substantial damages

    absent Court intervention.

            144.    The Individual Defendants' actions have been willful and outrageous and

    undertaken with reckless indifference to the rights of Affluent Ads.

                                         PRAYER FOR RELIEF

                    WHEREFORE, Affluent Ads requests the following relief:

        (a) Defendants be enjoined, preliminarily until hearing, and thereafter permanently, from

using or presenting any of Plaintiffs trade secrets or proprietary and confidential information to any

other entity other than Plaintiff.




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         (b) Defendants be enjoined, preliminarily until hearing, and thereafter permanently, from

 performing services in competition with Plaintiff, whether for their own benefit or on behalf of a

 competitor of Plaintiff, through Adtelligent, individually, or otherwise, including being enjoined

 from providing services for or communicating with Plaintiffs former, current, or prospective

 Clients, providing services or communicating with Plaintiffs former, current, or prospective

 Publishers, withdrawing from any pending work with Clients, and not attending any trade shows

 related to Internet marketing.


         (c) Defendants be ordered to immediately return to Plaintiff all Company documents and

 information, with the exception of documents and information pertaining to their personal

 compensation.


         (d) Defendants be ordered to promptly produce copies of all such Company documents

 during the expedited discovery process related to Plaintiffs Motion for Temporary Restraining

 Order and Motion for Preliminary Injunction.


         (e) Defendants be ordered to respond within five days of service of expedited discovery by

, Plaintiff regarding subjects such as actions taken in competition with Plaintiff, trade secrets and

 confidential information of Plaintiff used by Defendants for the benefit of any entity or person other

 than Plaintiff, steps taken to ensure compliance with their contractual obligations to Plaintiff, and

 steps taken to ensure non-disclosure or non-misappropriation of Plaintiffs trade secrets and

 confidential information.


         (f) Defendants be enjoined from deleting, destroying, erasing, modifying, or otherwise

 altering any and all electronic media, including, but not limited to, work and personal email

 accounts, text messages, Skype logs, instant messages, application-based communications, external
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hard drives, thumb drives, or other portable media, network drives, computers, cellular phones,

smart phones, and personal digital assistants, that have stored Plaintiffs documents or information,

or were used to transfer or temporarily store Plaintiffs documents, data, or information, or that

referred or related to Plaintiff, Plaintiffs business, Plaintiffs existing or prospective employees,

Clients, or Publishers, or work completed to date, until such time that the Court gives them leave to

do so.


         (g) Defendants be ordered to preserve all documents, data, and information pertaining to

actions taken in competition with Plaintiff, whether individually, through Adtelligent, or otherwise,

work performed for themselves or any entity other than Plaintiff, communications amongst

Defendants, communications among Defendants and/or with other individuals regarding Defendants'

performance of any work other than for Plaintiff during or since their employment with Plaintiff, and

communications among Defendants and/or with other individuals regarding Defendants' knowledge

of and/or access to Plaintiffs trade secrets and confidential information.


         (h) Defendants be required to disgorge any and all revenues that they received either directly,

or from any business gained, from the use of Affluent Ads' trade secrets and confidential

information and/or unlawful competition, while engaging in some or all of the above-stated unlawful

activity;


         (i) Caputo and Lynch be required to disgorge any and all wages, including bonuses or

commissions, that they received from Affluent Ads while in engaging in some or all of the unlawful

activity described above (from November 24, 2014 through their date of termination, July 14, 2016).


         G) Affluent Ads be awarded actual, compensatory, exemplary, and punitive damages, and

pre-judgment and post-judgment interest;
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       (k) Affluent Ads be awarded all reasonable attorneys' fees, and costs incurred in addressing

Defendants' misappropriation of Affluent Ads' trade secret information; and


       (1) Affluent Ads be awarded such other and further necessary and proper relief as the Court

may deem just and proper.




                                                       Respectfully submitted,


   July 21, 2016                                       Is/ Jonathan S. Krause
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                                                       Affluent Ads, LLC




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           EXHIBIT 1
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      INVENTION, NON-DISCLOSURE, NON-SOLICITATION, AND NON-COMPETITION AGREEMENT


     This is an Agreement, entered into on June 4, 2013, by and between Affluent Ads, LLC (D/B/A
Leadnomics) ("Company"), and Jovan Caputo ("Employee").

                                               Background

     WHEREAS, Employee is employed by Company. The parties wish to set forth certain restrictions
concerning confidential information, inventions, and competition.

      WHEREAS, the Employee agrees and acknowledges that he would not be entitled to the
consideration being provided pursuant to his employment but for his acceptance of the terms and
conditions of this Agreement.

     WHEREAS, the Employee agrees and acknowledges that he will have access to confidential and
non-public business information of the Company in connection with the performance of his duties for
the Company, the disclosure of which would irrevocably harm the Company.

      NOW, THEREFORE, intending to be legally bound and acknowledging the receipt of adequate
consideration, the parties hereby agree and covenant as follows:

1.    Confidentiallnformation.

     1.1     In General. Employee's duties will give him substantial exposure to the Company's
operations, technology, business strategy, and other non-public information that is essential to the
success of the Company and that provides the Company with a competitive advantage. All information
of a private, proprietary or confidential nature concerning Company's or its affiliates' business, business
relationships or financial affairs ("Confidential Information"), whether in written, electronic or other
form, shall be the exclusive property of Company. Without limiting the foregoing, Confidential
Information may include, without limitation, inventions, products, processes, methods, models,
algorithms, techniques, formulae, projects, developments, plans, research data, financial data,
personnel data, computer programs, source code, other technology, know-how, patent applications,
customer and supplier lists, personal or behavioral information relating to Internet users, and identifying
information or other facts relating to customers or prospective customers. Employee will not disclose
any Confidential Information to any person or entity other than employees of Company or other persons
providing services to Company or use the same for any purposes (other than in the performance of
his/her duties providing services to Company) without written approval by an officer of Company, either
while performing services on behalf of Company or at any time thereafter. Employee agrees and
acknowledges that the Company has exercised reasonable efforts to secure its Confidential Information,
including, but not limited to, restricting access to them to those Company employees who need to
access such information in the performance of their duties for the Company, enacting and enforcing
policies regarding the authorized uses for them, and not disclosing them to third-parties. You further
agree and acknowledge that the Company's Confidential Information are of value to the Company and
were created and maintained at significant expense to the Company.

   1.2     Ownership of Property. All files, letters, memoranda, reports, records, data, sketches,
drawings, notes and all other written or electronic material containing Confidential Information,
whether created by Employee or others, which shall come into his custody or possession, shall be and

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are the exclusive property of Company to be used by Employee only in the performance of his duties for
Company. All such materials or copies thereof and all tangible property of Company in the custody or
possession of Employee shall be delivered to Company (or destroyed, at Company's direction), upon the
earlier of (i) a request by Company or (ii) termination of Employee's relationship with Company. After
such delivery, Employee shall not retain any such materials or copies thereof or any such tangible
property.

    1.3     Reasonable Diligence. Employee shall use reasonable diligence to avoid disclosure or
unauthorized use of Confidential Information including, without limitation, retaining Confidential
Information in a secure place with access limited to authorized persons and otherwise complying with
Company's security policies that are furnished to Employee from time to time. If Employee becomes
aware, or reasonably believes, that Confidential Information has been disclosed or used without
authorization, Employee shall promptly notify Company and provide all information available concerning
such disclosure or unauthorized use.

    1.4     Information and Property of Others. The obligations of Employee under this section 1 shall
apply to confidential information and materials of customers and suppliers of Company and other third
parties who may have disclosed or entrusted the same to Company or to Employee.

2.    Inventions.

    2.1      Disclosure. Employee will make full and prompt disclosure to Company of all inventions,
improvements, concepts, ideas, software, designs, product developments, works of authorship and
other intellectual property, whether patentable or not, which are created, made, conceived or reduced
to practice by Employee or under Employee's direction or jointly with others during the period of
performing services on behalf of Company, whether or not during normal working hours or on the
premises of Company, and which (i) relate to the present or planned business activities of Company, (ii)
incorporate, are based upon or derive from Company's Confidential Information, or (iii) were created,
made, conceived or reduced to practices in connection with Company's facilities, equipment or other
resources ("Developments").

     2.2      Assignment. Employee hereby assigns, transfers and conveys to Company all of his right,
title and interest in and to any and all Developments, including, without limitation, ownership of all
United States and foreign copyrights, patent rights, trademark and trade dress rights, trade secret rights,
and all other intellectual property or proprietary rights in each Development. Employee shall cooperate
with Company in obtaining, maintaining, and enforcing all intellectual property rights relating to
Developments, as Company deems necessary or appropriate, including, without limitation, executing
and delivering, upon the request of Company, any and all instruments, documents and papers, giving
evidence and doing any and all other reasonable acts that, in the opinion of counsel for Company, are or
may be necessary or desirable to document the transfer of rights in the Developments or to enable
Company to file and prosecute applications for and to acquire, maintain and enforce any and all patents,
trademark registrations or copyrights under United States or foreign law with respect to any such
Developments or to obtain any extension, validation, re-issue, continuance or renewal of any such
patent, trademark or copyright. This assignment is undertaken in part as a contingency against the
possibility that any such Development, by operation of applicable copyright law, may not be considered
a work made for hire by Employee for Company. Employee also hereby waives and relinquishes all
claims to moral rights in any Developments.


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3.    Non-Solicitation and Non-Interference.

     3.1 Buyers and Providers, Generally. Company often acts as a broker between two types of
businesses. The first type of businesses are generally referred to as "Advertisers," and they buy or sell
(one or both of) (a) information of particular customers who may be interested in particular types of
products or services ("Leads") or (b) Internet users who were directed through one or more hyperlinks
to a website because they viewed or interacted with some type of online media ("Internet Traffic," for
the sake of clarity buying or selling Internet Traffic does not include the transfer of customer
information in the same manner as would buying or selling a Lead) (such buyers of Leads referred to
more specifically as "Lead Buyers" or both types generally referred to as "Advertisers"). The second
type of businesses are generally referred to as "Publishers," and they have Internet properties, such as,
but not limited to, websites, or other marketing capacities, such as, but not limited to, email lists,
capable of generating Leads or Internet traffic (such sellers of Leads referred to more specifically as
"Lead Providers" or both types generally referred to as "Publishers"). Company maintains lists of,
pricing, technical details, performance statistics and competitively sensitive information related to both
Publishers and Advertisers. Employee acknowledges and agrees that information pertaining to both
Publishers and Advertisers are competitively sensitive, regardless of whether Company sends or receives
payment from such party.

     3.2     Advertisers and Customers. As long as he is rendering services to Company and for a period
of one (1) year thereafter ("Customer Solicitation Restriction Period"), Employee shall not contact or
communicate with, directly or indirectly, on behalf of himself or any other person or entity, any person
or entity who has been a customer or Advertiser of Company or its affiliates during such period with the
purpose or effect of (i) interfering with Company's relationship with or sales of any products or services
to such customer or Advertiser or (ii) providing, selling, or attempting to sell any products or services
from an entity or person other than Company, where such products or services are of the type offered
for sale or provided by Company while Employee was employed by Company and specifically including
(a) providing, selling, or attempting to provide or sell Leads for any industry that Company purchased or
sold Leads during the above-mentioned restriction period (such as, but not limited to short-term
consumer loan, payday loan, and auto-insurance industries), (b) providing or selling Internet Traffic or
driving Internet users to web pages specified by such customer or Advertiser, and (c) selling advertising
inventory space or Internet traffic to any such customer or Advertiser. Notwithstanding subsection (ii) of
the prior sentence, conditioned upon Employee's compliance with all other provisions of this Agreement
and only with respect to customers or Advertisers unrelated to payday or consumer loans, the Customer
Solicitation Restriction Period as to any contacts or communications that are exclusively to provide, sell,
or attempt to provide or sell Internet Traffic is the duration of time he is rendering services to Company
and six (6) months thereafter.

    3.3      Publishers. As long as he is rendering services to Company and for a period of one (1) year
thereafter ("Publisher Solicitation Restriction Period"), Employee shall not contact or communicate with,
directly or Indirectly, on behalf of himself or any other person or entity, any person or entity who has
been a Publisher of Company or its affiliates during such period with the purpose or effect of (I)
purchasing online media, advertising space, Internet Traffic, or Leads from such Publisher, (ii) promoting
through any on-line means advertisements, products or services through such Publisher, (iii)
compensating such Publisher for online advertising services, or (iv) interfering with Company's
relationship with such Publisher or inducing or causing such Publisher to terminate or reduce his/her/its
relationship with Company. Notwithstanding subsections (i)-(iii) of the prior sentence, conditioned upon
Employee's compliance with all other provisions of this Agreement and only with respect to Publishers
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unrelated to payday or consumer loans, the Publisher Solicitation Restriction Period as to any contacts
or communications that are exclusively to buy Internet Traffic is the duration of time he is rendering
services to Company and six (6) months thereafter.

    3.4      Suppliers. Except as otherwise provided for in Section 3.3, for as long as he is rendering
services to Company and for a period of one (1) year thereafter, Employee shall not contact or
communicate with, on behalf of himself or any other person or entity, any person or entity who has
provided products or services to Company or its affiliates during such period to (i) interfere with
Company's relationship with such supplier or (ii) induce or cause such supplier to terminate his/her/its
relationship with Company.                                           ·

    3.5      Employees. For as long as he is rendering services to Company and for a period of two (2)
years thereafter, Employee shall not hire (or assist in the hire) or employ any person who was an
employee of Company or its affiliates during such period or contact or communicate, directly or
indirectly, on behalf of himself or any other person or entity, with the purpose or effect of (i) interfering
with Company's relationship with such employee or (ii) inducing or causing such employee to terminate
his/her/its relationship with Company.

    3.6     Reasonableness. Employee agrees and acknowledges that he has knowledge of the
Company's customers, Advertisers, Publishers, Suppliers, employees, and contractors as a result of the '
performance of his duties on behalf of the Company, and that the scope of the non-solicitation and non-
interference provisions of this Section 3 are reasonable to protect the Company's legitimate business
interests. Employee further acknowledges that the Company would be placed at an unfair competitive
disadvantage if he were to violate the terms of this Section 3.

4.    Non-Competition.

     4.1 Affiliate Business Non-Competition. For as long as he is rendering services to Company and for
a period of six (6) months thereafter, Employee shall not participate, directly or indirectly, as an owner,
employee, consultant, contractor, director, member, manager, partner, joint venturer, source of
financing or otherwise, in any sole proprietorship, corporation, partnership, limited liability company or
other business or entity that directly or indirectly (a) engages in affiliate marketing, where Internet
Traffic is purchased or generated, such as but not limited to through websites, emails, or by displaying
online advertisements, in a manner designed to sell it to a particular third-party, with compensation
based on performance (such as, but not limited to, because users complete an action or make a
purchase), or (b) engage in conduct in preparation of providing any of the products or services specified
in (a) during the restriction period (collectively referred to as "Participating in an Affiliate Business").

     4.2 General Non-Compete. Except to the extent Employee's conduct would solely constitute
Participating in an Affiliate Business, for as long as he is rendering services to Company and for a period
of one (1) year thereafter, Employee shall not participate, directly or indirectly, as an owner, employee,
consultant, contractor, director, member, manager, partner, joint venturer, source of financing or
otherwise, in any sole proprietorship, corporation, partnership, limited liability company or other
business or entity that directly or indirectly (a) purchases or sells online Leads for any industry that
Company purchased or sold Leads during the above-mentioned restriction period, including, but not
limited to, consumer finance and auto-insurance industries, (b) engages in any other business that
Company actually engaged in during the period of Employee's employment, (c) engages in any other
business that Employee was aware during the period of his employment that Company was considering

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entering and subsequently entered during or after Employee's employment, or (d) engage in conduct in
preparation of providing any of the products or services specified in (a)-(c) above during the restriction
period.

    4.3 Scope. Employee acknowledges and agrees that Company's operations are worldwide in scope
and that the foregoing restriction shall apply within the United States as well as any other country
where Company conducts business. Employee specifically acknowledges that the geographic region to
which this restriction applies is reasonable because that is the region in which the Company competes
and is the region in which Employee's knowledge of the Company could put the Company at an unfair
competitive disadvantage if this provision were not to be enforced.

    4.4 Reasonableness and Exclusions. Employee further acknowledges that and agrees that the time
restrictions provided by this Section 4 are necessary for the Confidential Information of the Company for
which Employee has or will have knowledge to become stale so that Employee's employment by a
competing business will not place the Company at an unfair competitive disadvantage. The foregoing
restriction shall not be construed to prohibit the ownership by Employee as a passive investment of not
more than five percent (5%) of any class securities of any corporation which is engaged in any of the
foregoing businesses having a class of securities registered pursuant to the Securities Exchange Act of
1934.

5.    United States Government Obligations. Employee acknowledges that the Company from time to
time may have agreements with other persons or with the United States Government, or agencies
thereof, which impose obligations or restrictions on the Company regarding inventions made during the
course of work under such agreements or regarding the confidential nature of such work. Employee
agrees to be bound by all such obligations and restrictions which are made known to Employee and to
take all action necessary to discharge the obligations of the Company under such agreements.

6.      Acknowledgment. Employee represents and warrants that (i) his knowledge, skills and abilities are
sufficient to permit him to earn a satisfactory livelihood without violating any provision of this
Agreement and that enforcement of the provisions hereof will not cause him undue hardship; (ii) the
benefits conferred on him by Company simultaneously with the execution of this Agreement are
adequate consideration for his agreement to and performance of the provisions of this Agreement; and
(iii) the restrictions set forth in this Agreement are necessary to protect the legitimate proprietary
interests of Company, including, without limitation, its proprietary products, trade secrets and other
intellectual property that it has invested substantial time and resources to develop.

7.     Remedies. Employee agrees and acknowledges that the injury that would be suffered by Company
as a result of breach of the provisions of Paragraphs 1, 3, or 4 would be irreparable and that an award of
monetary damages to the Company for such breach would be an inadequate remedy. Consequently,
the Company shall have the right in addition to any other rights it may have, to obtain injunctive relief
from any court of competent jurisdiction to restrain any breach or threatened breach or otherwise to
specifically enforce any provision of this Agreement and the Company shall not be obligated to post
bond or other security in seeking such relief. Without limiting the either party's rights under this
paragraph or any other remedies, if either party breaches any provisions of Paragraphs 1, 3, or 4, and
the other party obtains an injunction or final judgment relating to such violation, the prevailing party of
such injunction or judgment shall have the additional right to recover all reasonable attorneys' fees and
costs.


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8.   Notification. Any person employing Employee or evidencing any intention to employ Employee
may be notified as to the existence and provisions of this Agreement.

9.     Survival. The provisions of this Agreement shall survive the expiration or termination of the
relationship whereby Employee renders services to Company.

10. Modification of Covenants; Enforceability. In the event that any provision of this Agreement is
held to be in any respect an unreasonable or unenforceable restriction, then such provision shall not be
void or voidable, but shall be deemed reformed, or shall be deemed excised from this Agreement, as the
case may require, in such jurisdiction and this Agreement shall be construed and enforced to the
maximum time, geographic, product or service, or other limitations permitted by applicable law as if
such provision had been originally incorporated herein as so modified or restricted, or as if such
provision had not been originally incorporated herein, as the case may be; it being acknowledged by the
parties that the representations and covenants set forth herein are of the essence to the relationship
between Company and Employee. Employee acknowledges that a principal inducement for entering
into this Agreement is a grant of employment or engagement to him. Employee further acknowledges
that Company would not have offered such employment or engagement without Employee's execution
and delivery of this Agreement.

11. No Employment Contract. Employee understands that this Agreement does not itself constitute a
contract for employment or a contractual engagement for services. Except as otherwise provided in
written agreements executed by Company, Company may terminate its relationship with Employee at
will and Employee may voluntarily terminate his relationship with Company at will.

12.   Miscellaneous.

    12.1    Amendments; Waivers. No amendment, modification, or waiver of any provision of this
Agreement shall be binding unless in writing and signed by the party against whom the operation of
such amendment, modification, or waiver is sought to be enforced. No delay in the exercise of any right
shall be deemed a waiver thereof, nor shall the waiver of a right or remedy in a particular instance
constitute a waiver of such right or remedy generally.

    12.2    Notices. Any notice or document required or permitted to be given under this Agreement
may be given by a party or by its legal counsel and shall be deemed to be given (i) one day after the date
such notice is deposited with a commercial overnight delivery service with delivery fees paid, or (ii) on
the date transmitted by facsimile or electronic mail with transmission acknowledgment, to the principal
business address of Company or the address on file for Employee in Company's records, or such other
address or addresses as the parties may designate from time to time by notice satisfactory under this
section. A copy of any notice to Company shall be sent to the attention of General Counsel at The Cira
Centre, 2929 Arch Street, 11th Floor, Philadelphia, PA 19104, provided that such copy shall not itself
constitute notice.

     12.3    Governing Law. This Agreement shall be governed by the internal laws of Pennsylvania
without giving effect to the principles of conflicts of laws. Each party hereby consents to the personal
jurisdiction of the Federal or Pennsylvania courts· located in Philadelphia County, Pennsylvania, and
agrees that all disputes arising from or relating to this Agreement shall be adjudicated in such courts.
Employee further expressly and irrevocably waives any objection to the personal jurisdiction or venue of
such courts and consents to service of process by notice sent by regular mail to the address set forth

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above and/or by any means authorized by Pennsylvania law.

    12.4    Representations by Employee. Employee hereby warrants and represents that (i)
Employee's performance of services on behalf of Company do not violate or conflict with any contract or
other obligation to which he is a party or by which Employee is bound, including any agreement with or
other obligation to a former employer, and (ii) Employee will not disclose to the Company, induce the
Company to use or misappropriate any confidential or proprietary information or material belonging to
any previous employer or others.

    12.5      Language Construction. The language of this Agreement shall be construed in accordance
with its fair meaning and not for or against any party. The parties acknowledge that each party and its
counsel have reviewed and had the opportunity to participate in the drafting of this Agreement and,
accordingly, that the rule of construction that would resolve ambiguities in favor of non-drafting parties
shall not apply to the interpretation of this Agreement.

     12.6    Assignment. Employee may not assign his rights or duties hereunder without the prior
written consent of Company. Company may assign its rights and duties in connection with a merger,
sale, consolidation, restructuring or other disposition of all or a portion of its business or to an affiliate
controlling, controlled by or under common control with Company.

     12.7    No Third Party Beneficiaries. Except as otherwise specifically provided in this Agreement,
this Agreement is made for the sole benefit of the parties. No other persons shall have any rights or
remedies by reason of this Agreement against any of the parties or shall be considered to be third party
beneficiaries of this Agreement in any way.

    12.8    Binding Effect. This Agreement shall inure to the benefit of the respective heirs, legal
representatives, successors and permitted assigns of each party, and shall be binding upon the heirs,
legal representatives, successors and assigns of each party.

   12.9   Titles and Captions. All article, section and paragraph titles and captions contained in this
Agreement are for convenience only and are not deemed a part hereof.

   12.10 Pronouns and Plurals. All pronouns and any variations thereof are deemed to refer to the
masculine, feminine, neuter, singular or plural as the identity of the person or persons may require.

    12.11 Days. Any period of days mandated under this Agreement shall be determined by reference
to calendar days, not business days, except that any payments, notices, or other performance falling due
on a Saturday, Sunday, or federal government holiday shall be considered timely if paid, given, or
performed on the next succeeding business day.

    12.12   Entire Agreement. This Agreement constitutes the entire agreement between the parties
with respect to its subject matter and supersedes all prior agreements and understandings with respect
to such subject matter.

     12.13 Severability. If any provision of this Agreement or application thereof to anyone under any
circumstances is adjudicated to be invalid or unenforceable in any jurisdiction, such invalidity or
unenforceability shall not affect any other provisions or applications of this Agreement which can be
given effect without the invalid or unenforceable provision or application and shall not invalidate or
render unenforceable such provision in any other jurisdiction.
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    12.14 Counterparts. This Agreement may be executed in one or more counterparts, each of which
shall be original and all of which taken together shall constitute one and the same instrument.

IN WITNESS WHEREOF, the parties have executed this Agreement on the date first written above.



Affluent Ads, LLC                               Employee



By~
Zachary Robbins, Managing Member




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           EXHIBIT 2
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      INVENTION, NON-DISCLOSURE, NON-SOLICITATION, AND NON-COMPETITION AGREEMENT


     This is an Agreement, entered into on June 4, 2013, by and between Affluent Ads, LLC (D/B/A
Leadnomics) ("Company"), and Philip Lynch ("Employee").

                                               Background

     WHEREAS, Employee is employed by Company. The parties wish to set forth certain restrictions
concerning confidential information, inventions, and competition.

      WHEREAS, the Employee agrees and acknowledges that he would not be entitled to the
consideration being provided pursuant to his employment but for his acceptance of the terms and
conditions of this Agreement.

     WHEREAS, the Employee agrees and acknowledges that he will have access to confidential and
non-public business information of the Company in connection with the performance of his duties for
the Company, the disclosure of which would irrevocably harm the Company.

      NOW, THEREFORE, intending to be legally bound and acknowledging the receipt of adequate
consideration, the parties hereby agree and covenant as follows:

1.    Confidentiallnformation.

     1.1     In General. Employee's duties will give him substantial exposure to the Company's
operations, technology, business strategy, and other non-public information that is essential to the
success of the Company and that provides the Company with a competitive advantage. All information
of a private, proprietary or confidential nature concerning Company's or its affiliates' business, business
relationships or financial affairs ("Confidential Information"), whether in written, electronic or other
form, shall be the exclusive property of Company. Without limiting the foregoing, Confidential
Information may include, without limitation, inventions, products, processes, methods, models,
algorithms, techniques, formulae, projects, developments, plans, research data, financial data,
personnel data, computer programs, source code, other technology, know-how, patent applications,
customer and supplier lists, personal or behavioral information relating to Internet users, and identifying
information or other facts relating to customers or prospective customers. Employee will not disclose
any Confidential Information to any person or entity other than employees of Company or other persons
providing services to Company or use the same for any purposes (other than in the performance of
his/her duties providing services to Company) without written approval by an officer of Company, either
while performing services on behalf of Company or at any time thereafter. Employee agrees and
acknowledges that the Company has exercised reasonable efforts to secure its Confidential Information,
including, but not limited to, restricting access to them to those Company employees who need to
access such information in the performance of their duties for the Company, enacting and enforcing
policies regarding the authorized uses for them, and not disclosing them to third-parties. You further
agree and acknowledge that the Company's Confidential Information are of value to the Company and
were created and maintained at significant expense to the Company.

   1.2     Ownership of Property. All files, letters, memoranda, reports, records, data, sketches,
drawings, notes and all other written or electronic material containing Confidential Information,
whether created by Employee or others, which shall come into his custody or possession, shall be and

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are the exclusive property of Company to be used by Employee only in the performance of his duties for
Company. All such materials or copies thereof and all tangible property of Company in the custody or
possession of Employee shall be delivered to Company (or destroyed, at Company's direction), upon the
earlier of (i)'a request by Company or (ii) termination of Employee's relationship with Company. After
such delivery, Employee shall not retain any such materials or copies thereof or any such tangible
property.

    1.3     Reasonable Diligence. Employee shall use reasonable diligence to avoid disclosure or
unauthorized use of Confidential Information including, without limitation, retaining Confidential
Information in a secure place with access limited to authorized persons and otherwise complying with
Company's security policies that are furnished to Employee from time to time. If Employee becomes
aware, or reasonably believes, that Confidential Information has been disclosed or used without
authorization, Employee shall promptly notify Company and provide all information available concerning
such disclosure or unauthorized use.

    1.4     Information and Property of Others. The obligations of Employee under this section 1 shall
apply to confidential information and materials of customers and suppliers of Company and other third
parties who may have disclosed or entrusted the same to Company or to Employee.

2.    Inventions.

    2.1      Disclosure. Employee will make full and prompt disclosure to Company of all inventions,
improvements, concepts, ideas, software, designs, product developments, works of authorship and
other intellectual property, whether patentable or not, which are created, made, conceived or reduced
to practice by Employee or under Employee's direction or jointly with others during the period of
performing services on behalf of Company, whether or not during normal working hours or on the
premises of Company, and which (i) relate to the present or planned business activities of Company, (ii)
incorporate, are based upon or derive from Company's Confidential Information, or (iii) were created,
made, conceived or reduced to practices in connection with Company's facilities, equipment or other
resources ("Developments").

     2.2      Assignment. Employee hereby assigns, transfers and conveys to Company all of his right,
title and interest in and to any and all Developments, including, without limitation, ownership of all
United States and foreign copyrights, patent rights, trademark and trade dress rights, trade secret rights,
and all other intellectual property or proprietary rights in each Development. Employee shall cooperate
with Company in obtaining, maintaining, and enforcing all intellectual property rights relating to
Developments, as Company deems necessary or appropriate, including, without limitation, executing
and delivering, upon the request of Company, any and all instruments, documents and papers, giving
evidence and doing any and all other reasonable acts that, in the opinion of counsel for Company, are or
may be necessary or desirable to document the transfer of rights in the Developments or to enable
Company to file and prosecute applications for and to acquire, maintain and enforce any and all patents,
trademark registrations or copyrights under United States or foreign law with respect to any such
Developments or to obtain any extension, validation, re-issue, continuance or renewal of any such
patent, trademark or copyright. This assignment is undertaken in part as a contingency against the
possibility that any such Development, by operation of applicable copyright law, may not be considered
a work made for hire by Employee for Company. Employee also hereby waives and relinquishes all
claims to moral rights in any Developments.


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3.    Non-Solicitation and Non-Interference.

    3.1 Buyers and Providers, Generally. Company often acts as a broker between two types of
businesses. The first type of businesses are generally referred to as "Advertisers/, and they buy or sell
(one or both of) (a) information of particular customers who may be interested in particular types of
products or services ("Leads11 ) or (b) Internet users who were directed through one or more hyperlinks
to a website because they viewed or interacted with some type of online media ("Internet Traffic/, for
the sake of clarity buying or selling Internet Traffic does not include the transfer of customer
information in the same manner as would buying or selling a Lead) (such buyers of Leads referred to
more specifically as "Lead Buyers', or both types generally referred to as "Advertisers11 ). The second
type of businesses are generally referred to as "Publishers, 11 and they have Internet properties, such as,
but not limited to, websites, or other marketing capacities, such as, but not limited to, email lists,
capable of generating Leads or Internet traffic (such sellers of Leads referred to more specifically as
"Lead Providers" or both types generally referred to as "Publishers11 ). Company maintains lists of,
pricing, technical details, performance statistics and competitively sensitive information related to both
Publishers and Advertisers. Employee acknowledges and agrees that information pertaining to both
Publishers and Advertisers are competitively sensitive, regardless of whether Company sends or receives
payment from such party.

     3.2     Advertisers and Customers. As long as he is rendering services to Company and for a period
of one (1) year thereafter ("Customer Solicitation Restriction Period 11 ), Employee shall not contact or
communicate with, directly or indirectly, on behalf of himself or any other person or entity, any person
or entity who has been a customer or Advertiser of Company or its affiliates during such period with the
purpose or effect of (i) interfering with Companys relationship with or sales of any products or services
to such customer or Advertiser or (ii) providing, selling, or attempting to sell any products or services
from an entity or person other than Company, where such products or services are of the type offered
for sale or provided by Company while Employee was employed by Company and specifically including
(a) providing, selling, or attempting to provide or sell Leads for any industry that Company purchased or
sold Leads during the above-mentioned restriction period (such as, but not limited to short-term
consumer loan, payday loan, and auto-insurance industries), (b) providing or selling Internet Traffic or
driving Internet users to web pages specified by such customer or Advertiser, and (c) selling advertising
inventory space or Internet traffic to any such customer or Advertiser. Notwithstanding subsection (ii) of
the prior sentence, conditioned upon Employee's compliance with all other provisions of this Agreement
and only with respect to customers or Advertisers unrelated to payday or consumer loans, the Customer
Solicitation Restriction Period as to any contacts or communications that are exclusively to provide, sell,
or attempt to provide or sell Internet Traffic is the duration of time he is rendering services to Company
and six (6) months thereafter.

    3.3      Publishers. As long as he is rendering services to Company and for a period of one (1) year
thereafter ("Publisher Solicitation Restriction Period',), Employee shall not contact or communicate with,
directly or indirectly, on behalf of himself or any other person or entity, any person or entity who has
been a Publisher of Company or its affiliates during such period with the purpose or effect of (i)
purchasing online media, advertising space, Internet Traffic, or Leads from such Publisher, (ii) promoting
through any on-line means advertisements, products or services through such Publisher, (iii)
compensating such Publisher for online advertising services, or (iv) interfering with Company's
relationship with such Publisher or inducing or causing such Publisher to terminate or reduce his/her/its
relationship with Company. Notwithstanding subsections (i)-(iii) of the prior sentence, conditioned upon
Employee's compliance with all other provisions of this Agreement and only with respect to Publishers
                                                  3 of8
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unrelated to payday or consumer loans, the Publisher Solicitation Restriction Period as to any contacts
or communications that are exclusively to buy Internet Traffic is the duration of time he is rendering
services to Company and six (6) months thereafter.

    3.4      Suppliers. Except as otherwise provided for in Section 3.3, for as long as he is rendering
services to Company and for a period of one (1) year thereafter, Employee shall not contact or
communicate with, on behalf of himself or any other person or entity, any person or entity who has
provided products or services to Company or its affiliates during such period to (i) interfere with
Company's relationship with such supplier or (ii} induce or cause such supplier to terminate his/her/its
relationship with Company.

     3.5     Employees. For as long as he is rendering services to Company and for a period of two (2}
years thereafter, Employee shall not hire (or assist in the hire) or employ any person who was an
employee of Company or its affiliates during such period or contact or communicate, directly or
indirectly, on behalf of himself or any other person or entity, with the purpose or effect of (i) interfering
with Company's relationship with such employee or (ii) inducing or causing such employee to terminate
his/her/its relationship with Company.

    3.6     Reasonableness. Employee agrees and acknowledges that he has knowledge of the
Company's customers, Advertisers, Publishers, Suppliers, employees, and contractors as a result of the
performance of his duties on behalf of the Company, and that the scope of the non-solicitation and non-
interference provisions of this Section 3 are reasonable to protect the Company's legitimate business
interests. Employee further acknowledges that the Company would be placed at an unfair competitive
disadvantage if he were to violate the terms of this Section 3.

4.    Non~Competition.


     4.1 Affiliate Business Non-Competition. For as long as he is rendering services to Company and for
 a period of six (6) months thereafter, Employee shall not participate, directly or indirectly, as an owner,
 employee, consultant, contractor, director, member, manager, partner, joint venturer, source of
financing or otherwise, in any sole proprietorship, corporation, partnership, limited liability company or
other business or entity that directly or indirectly (a) engages in affiliate marketing, where Internet
Traffic is purchased or generated, such as but not limited to through websites, emails, or by displaying
online advertisements, in a manner designed to sell It to a particular third-party, with compensation
based on performance (such as, but not limited to, because users complete an action or make a
purchase), or (b) engage in conduct in preparation of providing any of the products or services specified
in (a) during the restriction period (collectively referred to as "Participating in an Affiliate Business").

     4.2 General Non-Compete. Except to the extent Employee's conduct would solely constitute
Participating in an Affiliate Business, for as long as he is rendering services to Company and for a period
of one (1) year thereafter, Employee shall not participate, directly or indirectly, as an owner, employee,
consultant, contractor, director, member, manager, partner, joint venturer, source of financing or
otherwise, in any sole proprietorship, corporation, partnership, limited liability company or other
business or entity that directly or indirectly (a) purchases or sells online Leads for any industry that
Company purchased or sold Leads during the above-mentioned restriction period, including, but not
limited to, consumer finance and auto-insurance industries, (b} engages in any other business that
Company actually engaged In during the period of Employee's employment, (c) engages in any other
business that Employee was aware during the period of his employment that Company was considering

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entering and subsequently entered during or after Employee's employment, or (d) engage in conduct in
preparation of providing any of the products or services specified in (a)-( c) above during the restriction
period.

    4.3 Scope. Employee acknowledges and agrees that Company's operations are worldwide in scope
and that the foregoing restriction shall apply within the United States as well as any other country
where Company conducts business. Employee specifically acknowledges that the geographic region to
which this restriction applies is reasonable because that is the region in which the Company competes
and is. the region in which Employee's knowledge of the Company could put the Company at an unfair
competitive disadvantage if this provision were not to be enforced.

    4.4 Reasonableness and Exclusions. Employee further acknowledges that and agrees that the time
restrictions provided by this Section 4 are necessary for the Confidential Information of the Company for
which Employee has or will have knowledge to become stale so that Employee's employment by a
competing business will not place the Company at an unfair competitive disadvantage. The foregoing
restriction shall not be construed to prohibit the ownership by Employee as a passive investment of not
more than five percent (5%) of any class securities of any corporation which is engaged in any of the
foregoing businesses having a class of securities registered pursuant to the Securities Exchange Act of
1934.

5.    United States Government Obligations. Employee acknowledges that the Company from time to
time may have agreements with other persons or with the United States Government, or agencies
thereof, which impose obligations or restrictions on the Company regarding inventions made during the
course of work under such agreements or regarding the confidential nature of such work. Employee
agrees to be bound by all such obligations and restrictions which are made known to Employee and to
take all action necessary to discharge the obligations of the Company under such agreements.

6.      Acknowledgment. Employee represents and warrants that (i) his knowledge, skills and abilities are
sufficient to permit him to earn a satisfactory livelihood without violating any provision of this
Agreement and that enforcement of the provisions hereof will not cause him undue hardship; (ii) the
benefits conferred on him by Company simultaneously with the execution of this Agreement are
adequate consideration for his agreement to and performance of the provisions of this Agreement; and
(iii) the restrictions set forth in this Agreement ,are necessary to protect the legitimate proprietary
interests of Company, including, without limitation, its proprietary products, trade secrets and other
intellectual property that it has invested substantial time and resources to develop.

7.     Remedies. Employee agrees and acknowledges that the injury that would be suffered by Company
as a result of breach of the provisions of Paragraphs 1, 3, or 4 would be irreparable and that an award of
monetary damages to the Company for such breach would be an inadequate remedy. Consequently,
the Company shall have the right in addition to any other rights it may have, to obtain injunctive relief
from any court of competent jurisdiction to restrain any breach or threatened breach or otherwise to
specifically enforce any provision of this Agreement and the Company shall not be obligated to post
bond or other security in seeking such relief. Without limiting the either party's rights under this
paragraph or any other remedies, if either party breaches any provisions of Paragraphs 1, 3, or 4, and
the other party obtains an injunction or final judgment relating to such violation, the prevailing party of
such injunction or judgment shall have the additional right to recover all reasonable attorneys' fees and
costs.


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8.   Notification. Any person employing Employee or evidencing any intention to employ Employee
may be notified as to the existence and provisions of this Agreement.

9.     Survival. The provisions of this Agreement shall survive the expiration or termination of the
relationship whereby Employee renders services to Company.

10. Modification of Covenants; Enforceability. In the event that any provision of this Agreement is
held to be in any respect an unreasonable or unenforceable restriction, then such provision shall not be
void or voidable, but shall be deemed reformed, or shall be deemed excised from this Agreement, as the
case may require, in such jurisdiction and this Agreement shall be construed and enforced to the
maximum time, geographic, product or service, or other limitations permitted by applicable law as if
such provision had been originally incorporated herein as so modified or restricted, or as if such
provision had not been originally incorporated herein, as the case may be; it being acknowledged by the
parties that the representations and covenants set forth herein are of the essence to the relationship
between Company and Employee. Employee acknowledges that a principal inducement for entering
into this Agreement is a grant of employment or engagement to him. Employee further acknowledges
that Company would not have offered such employment or engagement without Employee's execution
and delivery of this Agreement.

11. No Employment Contract. Employee understands that this Agreement does not itself constitute a
contract for employment or a contractual engagement for services. Except as otherwise provided in
written agreements executed by Company, Company may terminate its relationship with Employee at
will and Employee may voluntarily terminate his relationship with Company at will.

12.   Miscellaneous.

    12.1    Amendments; Waivers. No amendment, modification, or waiver of any provision of this
Agreement shall be binding unless in writing and signed by the party against whom the operation of
such amendment, modification, or waiver is sought to be enforced. No delay in the exercise of any right
shall be deemed a waiver thereof, nor shall the waiver of a right or remedy in a particular instance
constitute a waiver of such right or remedy generally.

    12.2    Notices. Any notice or document required or permitted to be given under this Agreement
may be given by a party or by Its legal counsel and shall be deemed to be given (i) one day after the date
such notice is deposited with a commercial overnight delivery service with delivery fees paid, or (ii) on
the date transmitted by facsimile or electronic mail with transmission acknowledgment, to the principal
business address of Company or the address on file for Employee in Company's records, or such other
address or addresses as the parties may designate from time to time by notice satisfactory under this
section. A copy of any notice to Company shall be sent to the attention of General Counsel at The Cira
Centre, 2929 Arch Street, 11th Floor, Philadelphia, PA 19104, provided that such copy shall not itself
constitute notice.

     12.3    Governing Law. This Agreement shall be governed by the internal laws of Pennsylvania
without giving effect to the principles of conflicts of laws. Each party hereby consents to the personal
jurisdiction of the Federal or Pennsylvania courts located in Philadelphia County, Pennsylvania, and
agrees that all disputes arising from or relating to this Agreement shall be adjudicated in such courts.
Employee further expressly and irrevocably waives any objection to the personal jurisdiction or venue of
such courts and consents to service of process by notice sent by regular mail to the address set forth

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above and/or by any means authorized by Pennsylvania law.

    12.4    Representations by Employee. Employee hereby warrants and represents that (i)
Employee's performance of services on behalf of Company do not violate or conflict with any contract or
other obligation to which he is a party or by which Employee is bound, including any agreement with or
other obligation to a former employer, and (ii) Employee will not disclose to the Company, induce the
Company to use or misappropriate any confidential or proprietary information or material belonging to
any previous employer or others.

    12.5      Language Construction. The language of this Agreement shall be construed in accordance
with its fair meaning and not for or against any party. The parties acknowledge that each party and its
counsel have reviewed and had the opportunity to participate in the drafting of this Agreement and,
accordingly, that the rule of construction that would resolve ambiguities in favor of non-drafting parties
shall not apply to the interpretation of this Agreement.

    12.6     Assignment. Employee may not assign his rights or duties hereunder without the prior
written consent of Company. Company may assign its rights and duties in connection with a merger,
sale, consolidation, restructuring or other disposition of all or a portion of its business or to an affiliate
controlling, controlled by or under common control with Company.

     12.7    No Third Party Beneficiaries. Except as otherwise specifically provided in this Agreement,
this Agreement is made for the sole benefit of the parties. No other persons shall have any rights or
remedies by reason of this Agreement against any of the parties or shall be considered to be third party
beneficiaries of this Agreement in any way.

    12.8     Binding Effect. This Agreement shall inure to the benefit of the respective heirs, legal
representatives, successors and permitted assigns of each party, and shall be binding upon the heirs,
legal represe'ntatives, successors and assigns of each party.

   12.9   Titles and Captions. All article, section and paragraph titles and captions contained in this
Agreement are for convenience only and are not deemed a part hereof.

   12.10 Pronouns and Plurals. All pronouns and any variations thereof are deemed to refer to the
masculine, feminine, neuter, singular or plural as the identity of the person or persons may require.

    12.11 Days. Any period of days mandated under this Agreement shall be determined by reference
to calendar days, not business days, except that any payments, notices, or other performance falling due
on a Saturday, Sunday, or federal government holiday shall be considered timely if paid, given, or
performed on the next succeeding business day.

    12.12 Entire Agreement. This Agreement constitutes the entire agreement between the parties
with respect to its subject matter and supersedes all prior agreements and understandings with respect
to such subject matter.

     12.13 Severability. If any provision of this Agreement or application thereof to anyone under any
circumstances is adjudicated to be invalid or unenforceable in any jurisdiction, such invalidity or
unenforceability shall not affect any other provisions or applications of this Agreement which can be
given effect without the invalid or unenforceable provision or application and shall not invalidate or
render unenforceable such provision in any other jurisdictic:>n.
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    12.14 Counterparts. This Agreement may be executed in one or more counterparts, each of which
shall be original and all of which taken together shall constitute one and the same instrument.

IN WITNESS WHEREOF, the parties have executed this Agreement on the date first written above.



Affluent Ads, llC                               Employee

By

      /~
Zachary Robbins, Managing Member




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           EXHIBIT 3
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                                                              Jovan Caputo




                                                                                                                                      People Similar to Philip
                                                       VP Business Development & Operations, Leadnomics
                                                       Partner Network at Leadnomics
                                                       Greater New York City Area    I Orline Media
                                                       Previous    Leadnornics, A:ls\Bhicle.corn, Ado Tube. An Exponential
                                                                   Division                                                           Jovan Caputo 8!.~
                                                       Education   Binghamton University                                              VP Sales and Distribution, Leadnomics Partn...
                                                                                                                                      Connect

                                                                        Send Philip In Mail                                  500+
                                                                                                                      connections
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                https:/iwmlinkedln.com/ln/phlltlynch                                                                  Contact Info              59 New PA Clients
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                                                                                                                                                attorney. View their cases today.
           Background

                                                                                                                                                Wrongfully Terminated?
                                                                                                                                                Talk to one of our Employment
                      Summary
                                                                                                                                                Attorneys today. We fight for your
                                                                                                                                                rights.
           Entrepreneurial and successful arline marketing professional. VP level Business Development Manager
                                                                                                                                                Cornell Master's in NYC
           with expertise in all facets of arline marketing. 9 years of experience within the online advertising
                                                                                                                                                Without Interrupting Your Career
           industry with vast kmwledge of display CPA, CPC, CPM, SEM, Contextual CPC, Social and Mobile
                                                                                                                                                Weekend Classes for
           Advertising I Media Buying. Extensive knowledge of distribltion and optimization on both the client and
                                                                                                                                                Professionals
           agency side. Working knowledge of Email marketing, Behavioral targeting and Feed Management (PI).

           My Goals:
                                                                                                                                                 Nick Sclafani
           -Plan and achieve business goals between both publishers and advertisers to ensure maximum ROI.
                                                                                                                                                 Senior Distribution Manager at
           -Continue a proven history of success in client relationships and the ability to manage and grow key                                  Leadnomics
           accounts.
           -Prospect and form relationships with top-tier CPC-CPM-CPA Display, Mobile, Search an:! Email
                                                                                                                                                 Josh Warner
           publishers.                                                                                                                           Digital Marketing I Product
           -Manage overall strategy, operations and business initiatives.                                                                        Management I Media Buying

                                                                                                                                                 Drew Johnson
                                                                                                                                                 Business Development at Leadnornics

           B         Experience
                                                                                                                                                 Bona Daniel
                                                                                                                                                 Miliate Manager at DMi Partners
           VP Business Development & Operations, Leadnomics Partner
           Network
           Leadnomics                                                                                                                            Dan Hughes
                                                                                                                                                 V.P. of Business Development at Path
           May 2015- Present (1 year 3 months) 1 Greater New York City Area                                                                      56 Media
           -Responsible for the Leadnomics Partner Network P&L, operations and business initiatives between
           both publishers & advertisers.                                                                                                        Claudia Stringham
                                                                                                                                                 Human Resources & Office
                                                                                                                                                 Administration
           -Ensure maximum ROI for both publishers and advertisers by identifying profitable streams of revenue
           wtile diversifying the company's portfolio into new verticals.
                                                                                                                                                 Omar Abdelhamid
                                                                                                                                                 VP of Operations at Leadnornics
           -Manage the overall strategy, business development team and key publisher relationships for the
           Leadnomics Partner Network wtich consists of almost 50 advertiser verticals across more than two
           thousand publisher partners.


           Director of Leadnomics Partner Network                                                                                     Add new skills with these courses
           Leadnomics
           June 2013- May 2015 (2 years)           I Greater New York City Area                                                                         Top 5 Money-Saving
                                                                                                                                                        AdWords Tips
           Leadnomics is an online marketing company that generates millions of leads every year for financial                                          Viewers: 7,612
           institltions and insurance companies in the US and the UK. The company specializes in finding the right
           customers for clients by running highly targeted campaigns across a variety of online channels.
                                                                                                                                                        Google AdWords
           In 2012, Leadnomics was ranked #26 and #1 in Philadelphia on the Inc. 500 list, an annual ranking of
           the nation's fastest-growing privately held companies, up from #48 in 2011. In its sector, advertising &
           marketing. Leadnomics was ranked #3.




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           AdoTuben.• is a global in-stream video advertising company. Ado Tube provides publishers and
           advertisers with easy and efficient access to in-stream video advertising and the solutions to target and              You
           optimize across multiple devices and video formats. Ado Tube is a dMsion of exponential, a global digital
           advertising company wtth presence in 25 countries worldwide.

           -Responsible for the creation of partnerships with top-tier Mobile WAP and ln-App publishers.
                                                                                                                              9         Athas Nikolakakos


                                                                                                                                        Ask Jlihas ior an introduction •
           Senior Business Development Manager, Publisher Development                              art1<~lli.
                                                                                                                                        See more connections in
           Adknowledge
                                                                                                                                        common
           August 2010- July 2012 (2 years) 1 Greater New York City Area

           Adknowledge the fourth largest advertiser marketplace, specializes in performance-based marketing
                                                                                                                              •             Philiplynch
           solutions that help make the long tail web 2\Ccessible to advertisers. Utilizing powerful predictive
           technology and completely anonymous consumer response patterns, we connect advertisers with
           consumers across multiple channels, including email, search, mobile, domains, and social networks.
           Advertisers can choose between CPC, CPA and CPM pricing models.

           -Responsible for the creation of new CPC I CPA business development deals with top publishers
           increasing overall revenue in the Adknowledge marketplace.

           -Managing partner accounts and growing their revenue/profit numbers while optimizing their operations.


           Senior Manager, Publisher Development
           Epic Media Group
           January 2007- July 2010 (3 years 7 months)      I   Greater New York City Area

           -Responsible for negotiating partnerships and executing business development initiatives among top
           publishers.

           -Responsible for the day to day management and revenue growth of publisher partnerships at Epic
           Media Group.

           -Optimized CPA campaigns.


           Publisher Partnerships, Affiliate Management
           Venture Direct Worldwide
           January 2006 - December 2006 (1 year) 1 Greater New York City Area

           -Specialized in the implementation and distribution of CPL I CPA campaigns for advertisers wttlin the
           educational and financial sector.


           Recruiter
           Open System Technologies
           January 2004- December 2005 (2 years) 1 Greater New York City Area

           -Recruiter of IT professionals related to top tier investment banking.




           B        Skills


           Top Skills


           33    Online Advertising                                    ll>tJDJ1D·i1·1i1·
           32    SEM                                               r:--·n•~t•EIII1•a•
           25    PPC                                           -   ~n•a•~tm~lll21llll
           20    Online Marketing
                                                                  ~c-cn••••••~a.fil
           17    Mobile Marketing                              fl·. l011twllill41211• •&

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                                                         Jovan Caputo




            10


           Philip also knows about ...


                 Social Media Marketi~            9     Advertising       9           Mobile Advertisi~

                                                      Media Planni~               8      Lead Generation         8    SEO

            8    Mobile Devices        7      Affiliate Management            7        New Business Development

            7    Display Advertisi~           6   CPL       6       Online Lead Generation

                 Business Performance ...         4     Contextual Advertisi~                 See 6+




           B        Education


           Binghamton University
           B.A., Business I Marketing
           2000-2004




           Additional Info


         • Interests
           lnvesti~,   prospectirg new business, snowboarding I surfi~. any extreme sport related events.




           Connections
                                                                                                                  Shared (6)


                        Stephen Gill    .h\                                                  David Graff .1.!.\
                        Co-Founder @Tiller. com I AdTech I Entr ...                          Director. Globe I Product Polley



                        Shannon Milano, SHRM-CP             .1!!.                            Athas Nikolakakos .!.1.\
                        Human Resources & Office Administratio ...                           Associate Principal. Global Product Polic ...



                        Zach Robbins .1.!.'.                                                 Julie Merritt Pacaro lot
                        Fintech Entrepreneur I Customer A::quisi...                          General Counsel at Lead~-.;mics

                                                                                         .


           Groups




                                           AdAge
           CPC Advertising Ass ...      Advertising Age                 Fashion E.Commerc ...              Affiliate Summit
           477 members                  136,128 members                 2.451 memibers                     4,051 members
              Join                        Join                             Join                               Join




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            Adknowledge                 Leadnomics
            Marketing and               Marketing and
            Advertising                 Advertising
               Follow                     Follow


            Schools




            Binghamton University
            Bingharrton. NY
               Follow




         Help Center    I About ! Careers   Advertising   Talent Solutions   ! Sales Solutions ! Small Business ! Mobile ! Language ! Upgrade Your Account
         Linkedln Corporation© 2016   I User Agreement    Privacy Policy   ! Ad Choices ! Community Guidelines ! Cookie Policy ! Copyright Policy ! Send Feedback




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           EXHIBIT4
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                                                 Jovan Caputo                                                                  People Similar to Jovan
                                                 VP Sales and Distribution, Leadnomics Partner Network
                                                 at Leadnomics
                                                 Greater New York City Area       ! Marketing and Advertising
                                                 Previous       Leadnomics, Adsvehicle.com, Monetizeit
                                                 EdliOation     Manhattan College                                              Dan Hughes .~~.1
                                                                                                                               V.P. of Business Development at Path 56 Me ...
                                                                                                                               Connect

                                                                     Send Jovan lnMail                              500+
                                                                                                                 connections

                                                                                                                               Ads You May Be Interested In
             trtips:/N.VNlinkedln.comlin/jovan-caputo-5342b18
                                                                                                                                            Go BIG to win!
                                                                                                                                            Personal l njury attorneys get 25%        >
           Background                                                                                                                       off all printing and mounting. Call!


                                                                                                                                            Carnell Master's in NYC
          B        Summary                                                                                                                  Without Interrupting Your Career
                                                                                                                                            Weekend Classes far
                                                                                                                                            Professionals
          Specializes in ensuring maximum ROI for both publishers and advertisers by identifying profitable
          streams of revenue while diversifying the company's portfolio into new verticals.                                                 Wrongfully Terminated?
          Drive the overall strategy, manage the business development team, and focus an key publisher
                                                                                                                                 m          Talk to an Employment Attorney
                                                                                                                                 1&181      today. We fight far employee
          relationships for the Leadnomics Partner Network which consists of 50 + advertiser verticals across
          more than two thousand publisher partners.                                                                                        rights,



                                                                                                                                             Zach Robbins
                                                                                                                                             Fintech Entrepreneur I CUstomer
                                                                                                                                             Acquisition Expert 1 Founder & CEO,
                   Experience                                                                                                                Margo & Leadnonics
                                                                                                                                             Josh Warner
                                                                                                                                             Digital Marketing 1 Product
          VP Sales and Distribution, Leadnomics Partner Network                                                                              Management 1 Media Buying
          Leadnomics
          May 2015- Present (1 year 3 months)                                                                                                Drew Johnson
                                                                                                                                             Business Development at Leadnomics
          Leadnomlcs is an online marketing company that generates millions of leads every year for financial
          institutions and insurance companies in the US and the UK. The comparq specializes in finding the right
          customers for clients by rllilning highly targeted campaigns across a variety of online channels.
                                                                                                                                             Dan Hughes
                                                                                                                                             V.P. of Business Development at Path
          In 2012, Leadnomics was ranked #26 and #1 in Philadelphia on the inc. 500 list, an annual ranking of                               56 Media
          the nation's fastest-growing privately held companies, up from #48 in 2011. In its sector, advertising &
          marketing, Leadnomics was raniked #3.                                                                                              Bona Daniel
          Director of Business Development -                                                                                                 Miliate Manager at DMi Partners
          Responsible for the Leadnomics Partner Network P&L operations, and business initiatives between
          both publishers & advertisers.
                                                                                                                                             Joshua Irons
                                                                                                                                             Digital Marketing 1 Corrrnunications 1
          Director of Leadnomics Partner Network                                                                                             Sales Enablement & Operations 1
          Leadnomics                                                                                                                         Senior Leader
          Jurie 2013- May 2015 (2 years)                                                                                                     Avi Bieber
                                                                                                                                             Director of Business Development at
          Leadnomics is an online marketing company that generates millions of leads every year for financial                                ReviMedia
          institutions and insurance companies in the US and the UK. The company specializes in finding the right
          customers for clients by running highly targeted campaigns across a variety of online channels.


                                                                                                                               Add new skills with these courses
          Managing Partner
          Adsvehicle.cam
          June 2012- June 2013 (1 year 1 month) 1 Greater New York City Area                                                                        Writing Ad Copy
                                                                                                                                                    Viewers: 3, 876


          Manager, Business Development
          Monetizeit                                                                                                                                Bing Ads Essential
          July 2010- June 2012 (2 years)


          Network Manager
          AzoagleAds




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           Distribution Manager
           Epic Advertising
           2007- June 2010 (3 years)
                                                                                                                          ..                              View more courses~]



                                                                                                                                 How You're Connected

           G         Skills
                                                                                                                                        You

           Top Skills


           38    Affiliate Marketing
                                                                                                                                     9        Athas Nikolakakos

                         -----------..----·-·- ..
                                                                                                                                              Ask Jllhas for an Introduction •
           31    Online Marketing
                                                                                                                                              See more connections in
           23    Online Advertising                                                                                                           common

           20    Lead Gene.ration
                                                                                                                                                  Jovan Caputo
           20    Online Lead Generation

           19    PPC
           17    Email Marketing

           10    Mobile Marketing

            6     Affiliate Management
                -----------------------·----
            6    SEM


          Jovan also knows about ...


            4    Ad Networks                   4                             4    Media Buying      4    Mobile Advertising

                 E-commerce                         Web Analytics     3    Advertising          Display Advertising

                 Business Development                   3   Google Adwords               Conversion Optimization

                 Digital Strategy                     CPL           Business Performance ...




          G          Education


          Manhattan College
          BS, Marketing
          2004-2007
          Activities and Societies: Soccer


          Manhattan College
          2003-2007




          Additional Info


         • Interests
          Soccer, snowboarding, surfing, guitar




          Recommendations




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Jovan Caputo ILinkedln                                                                                file://///phllnas2/JKrause070$/Personal/Leadnomics/Jovan Caputo_...



                                                                                                                       . . Advanced

                       Managing Partner

                       ' ' Jonathan is one of the smartest, most detail oriented partners with whom I have ever
                       done business. From Media Bl1jing to SEM in a wide array of verticals, there are few that
                       get the job done betteL"'
                       January 2, 2014, Jovan was v.ith another company when working with Jonathan at Flow Logic LLC




                       John Marchionda
                       Director of Partner Marketing

                       "    John is a great gl1jl Extremely knowledgeable and always around to get things done ...
                       September 10, 2013, Jovan was v.ith another company when working v.ith John at Media Crowd Inc




                       Jeremy Klein
                       Director of Sales

                       ' ' Jeremy is one of the most knowledgeable, and successful people I have met in this
                       industry. He works works hard, and always gets the job done ...
                       October 3, 2012, Jovan worked v.ith Jeremy at MediaWhiz Holdings LLC




          Connections
                                                                                                        Shared (5)



                       Stephen Gill .h\                                              Shannon Milano, SHRM-CP .!J.\
                       Co-Founder @Tiller. com/ AdTech I Entr...                     Human Resources & Office Administratio ...



                       Athas Nikolakakos J.1!.                                       Zach Robbins 1.1!
                       Associate Principal, Global Product Polic ...                 Fintech Entrepreneur I Customer Acquisi...




          ..   '




          Groups
                   '
                       Julie Merritt Pacaro .1.1.'
                       General Counsel at Leadnomics




          Media Buyer & Selle ...
          16.605 members
             Join



          Following
                                       -
                                       ~
                                       Chief Marketing Offic ...
                                       237,266 members
                                         Join
                                                                       Online All Stars
                                                                       617members
                                                                         Join




          React2Media                  Leadnomics
          Online Media                 Marketing and
            Follow                     Advertising
                                         Follow


          Schools




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                                                                                                              . . Advanced




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            Greater New York City
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